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              EXHIBIT A
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Dear The Honorable J. Paul Oetken,

As a Networking Engineering Supervisor at lv.net, I have had the privilege of working under
Marty's leadership for the past nine years. Marty has been not only my boss but also a mentor
and a friend. Our professional relationship began within the confines of the workplace at lv.net,
where Marty served as my superior.

Throughout our time working together, Marty has had a profound impact on my life. He has
consistently demonstrated unwavering support and kindness, not only towards me but also
towards my family. Whenever I found myself in need, whether it be financially or otherwise,
Marty was always there to lend a helping hand without hesitation. His generosity and
compassion have left an indelible mark on me, and I am deeply grateful for his presence in my
life.

Marty's leadership style is exemplary, and he has been instrumental in fostering a positive and
supportive work environment at lv.net. His dedication to his team's well-being and professional
development is evident in the way he leads by example and always prioritizes the needs of his
employees.

One particular moment that stands out to me is when I approached Marty to share the news of
becoming a father. His genuine happiness and immediate offer of assistance touched me
deeply. Marty's love for his own children is palpable, and his words of encouragement only
served to strengthen my resolve to be the best parent I could be.

In my nine years of working alongside Marty, I have never once felt afraid or apprehensive in
his presence. He leads with integrity and fairness, earning the respect and admiration of all
those who have had the pleasure of working with him.

In conclusion, Marty is not just a boss but a remarkable individual who has positively impacted
my life in countless ways. I have the utmost respect and admiration for him, and I
wholeheartedly endorse him as a person of impeccable character and integrity.

Sincerely,



Mahmud Abdolqader
Network engineer supervisor
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The Honorable J. Paul Oetken,

My name is Ariel Akerman, and I am writing to offer a character reference for Marty Mizrahi who is in the case before
you. I have known Marty for nearly three decades and can attest not only to his good character, but also to the
positive impact he has had on those people around him and the value he adds to our community.

I have resided in Las Vegas since 1995, and met Marty shortly after moving here from Argentina. I was introduced to
him through a family member, and since then, Marty has been a good friend to our entire family, as well as being an
outstanding member of our community.

My family and I own and operate 12 souvenir stores on the Strip and Downtown. As a fellow entrepreneur, I've had
the opportunity to observe Marty's commitment to his business enterprises firsthand. Over the years, I’ve watched as
Marty's drive, dedication and innovative spirit have brought state of the art services to the Las Vegas community, as
well as providing numerous jobs and opportunities for our city residents. Marty has a genuine concern for the well-
being of his employees and for the prosperity of our community. His integrity and honesty in business dealings have
earned him the respect and admiration of his colleagues and peers, myself included.

In addition, Marty's generous nature has led him to help numerous friends and relatives over the years. One example
of his kindness is with his former assistant, Rachael. When Rachael was diagnosed with cancer, Marty immediately
stepped into support her. Marty reassured her that her job would be secure during her treatment and recovery,
allowing het to take the necessary time off without fear of losing her position. In addition, Marty put a down payment
on a home for Rachael to help alleviate some financial and emotional burdens. He spent time with her in the hospital
and was supportive until the day she passed.
His warmth and genuine interest in the lives of those people around him fosters bonds that have endured the test of
time. He treats everyone with the same kindness and consideration, whether they are friends, employees, customers
or strangers.

Marty's dedication to his family is also exemplary. As a father and a son, he maintains close bonds with his parents
and daughters, and is an unwavering supporter of them. We have attended each other's family gatherings over many
years, so I have a good understanding of the significance Marty places on family values and friendships.

In closing, I want to emphasize that Marty is not just a friend or a business associate; he is a beacon of generosity,
compassion, and strength in our community. His contributions, both professionally and personally, have benefited the
entire community and the lives of those fortunate enough to know him personally. I trust that this letter offers a
glimpse into the character of the man behind the name and urges you to consider it in your deliberations.

Thank you for your time and attention.

Respectfully,


Ariel Akerman
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July 10, 2024

Dear The Honorable J. Paul Oetken,

My name is Iris Alonzo, and I am an entrepreneur based in Los Angeles, California. I focus primarily on
local, sustainable, and ethical manufacturing in the apparel industry through my company,
Everybody.World. Additionally, I have served as a nonprofit board member with Levitt Pavilion for several
years, working to build community through art and live music in MacArthur Park, an underserved area in
Los Angeles. I am known for being reliable, trustworthy, and an upstanding citizen in both my community
and industry.

Marty Mizrahi was my late brother Sean’s best friend, and I have known him since I was around 12 years
old, approximately 32 years. As a young girl, I remember being struck by how generous Marty was with
his time and resources. My big brother was wonderfully unique and had a good heart, but he struggled
with alcohol addiction and bipolar disorder, which made him difficult to be around at times, even for his
own family. Marty was the only person who consistently opened his doors and heart to my brother,
especially during Sean’s most challenging moments. Marty would let Sean live with him for months at a
time, convincing him to attend Alcoholics Anonymous meetings and supported him, emotionally and
financially, in his efforts to get sober, stable and healthy. Marty also gave Sean a path and the resources
to help those less fortunate, including feeding the homeless, which encouraged him to appreciate his
blessings. As a non-drinker, non-drug user, and successful businessman, Marty was a positive influence
on my brother, who admired and respected him immensely.

Tragically, in February 2022, my brother took his own life. After contacting my immediate family, Marty
was the first person I reached out to. His main priority was ensuring I was okay, and he continued to
check in regularly to offer support. No one else did this for me. Marty has been so present and focused on
my wellbeing that I was unaware of his own challenges related to these charges until recently. Even now,
in what must be the worst moment of his life, Marty is there for me, and I know I can call him if I need help
or advice. He has become somewhat of another big brother to me.

After 30+ years of friendship and unwavering support for my family, I can attest to Marty’s core character
as one of kindness, positivity, big-heartedness, and a lack of prejudice. Though he has been convicted of
a crime, which is not taken lightly, I believe the good he has put into the world is significant and will have a
lasting impact on many. I hope that this is taken into consideration when determining his sentence. Thank
you.

Sincerely yours,




Iris Alonzo
iris@everybody.world
(213) 305-9450
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July 1, 2024


To the honorable Judge Oetken,


       My name is Keanna Babaei. I graduated from Sacramento State University with a
Master’s degree in Accountancy and from Cal Poly San Luis Obispo with a Bachelor’s degree in
Political Science. I work today as a Senior Accountant for Beach House Group based in Los
Angeles. I’ve known Marty Mizrahi now for four years in the capacity of him being my best
friend Ashley Davis’ boyfriend. In my time knowing Marty, I’ve known him to be a very
generous and helpful person to all those around him. He is always positive and happy spirited
and willing to lend a helping hand to anyone in need. Marty is always there for his friends,
family, and employees in any capacity he can - his home to stay in, money to help them in their
next venture or during a hard time, a car to borrow; he would give the shirt off his back and
shoes off his feet to even a stranger if they said they needed it. He is also an extraordinary father
to his two well-mannered and intelligent daughters.
       I personally have been fortunate enough to see Marty’s generosity firsthand. During his
time in New York, he allowed me to stay with him and Ashley because I was going through a
hard time personally. Marty was always busy working no matter the time of day. Despite his
busy schedule he still made time to show me around town during the holidays and my birthday.
Marty is like an older brother to me. He planned and booked fun excursions to site see the
holiday attractions, some museums and shows, and dinners. We would have nights in where
Marty and I would make healthy meals together as he’s vegan and I’m on a gluten-free diet. The
talks and advice I’ve received from him over the years have been invaluable to me, his
experience and brain is admirable in certain capacities, and I value his opinions.
       Even when I go visit Ashley or have plans to meet other friends in Las Vegas, he’s
always insisting on picking us up from the airport, handling all our bags, available for a ride here
and there, and never hesitates to answer the call or help with a favor. I know no matter how late I
can always call Marty for a ride as he never wants us girls to be unsafe. There was a weekend
Ashley was in Texas visiting her grandmother, and Marty allowed myself and our other friend to
stay at his home with his family. He was gracious enough to give us his room for the weekend so
we were comfortable, and he stayed downstairs on the couch. He took us everywhere, made sure
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we had a good time, and helped facilitate everything our entire trip. Marty always includes
myself and our dear friend because he knows she’s so happy when we’re all together, and Marty
makes us feel like were family to him.
       It breaks my heart to see the stress Marty and Ashley have been going through. It is
horrible Marty is in this situation, as it is very out of character of him as I’ve only known him to
be an honest, hardworking businessman. I’ve never seen anyone in my life work as much and as
hard as I have Marty. Knowing Marty for some years now and learning his characteristics, I can
see how he could get himself in a situation like this because I know him to be a little too kind
and trusting of people. Ashley and I have always been bothered by certain people Marty has
allowed in his life, because we’ve seen him being taken advantage of handfuls of times but still
wants to give the benefit of the doubt and lend a helping hand.
       I am so thankful to Marty for how amazing he treats my friend Ashley. She’s been
through a lot of hard times and Marty has been present, loving, and compassionate towards her.
Their relationship is admirable, they are best friends and communicate very well with one
another. I would hope to have a healthy, loving relationship like theirs one day. Marty is truly
one of the most genuine and reliable people I’ve had the pleasure to know, a very kind and
youthful soul all around. I know how devastating Marty not being present will be not just for my
friend, but for his daughters and parents who deeply depend on him on a daily basis. I ask you to
please take into consideration Marty’s genuine and honest character in your sentencing, as many
of us need him present in our lives. Honorable Judge Oetken, I truly appreciate you taking the
time to read my letter.




Keanna Babaei

Keanna Babaei
916-601-5815
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                                                                              June 25, 2024


Dear The Honorable J. Paul Oetken,


        My name is Lora Baldridge, I am a Certified Medical Assistant working for the State of
California in Correctional Healthcare. I am writing this letter to provide a character reference for
Martin Mizrahi. I have known Marty for 19 years; I had previously worked for Mr. Mizrahi at
LV.Net for 5 years. During the time I worked with Marty I became very familiar with his
personality and work ethic and am happy to share my impressions with you. I continued to stay
in contact with him in the years following my departure from LV.Net.
I had just moved to Las Vegas in 2005, and I had nothing, I had a 6-month-old son that I was
taking to job interviews in hopes that someone would give me a chance. Marty gave me that
chance! He welcomed my son in the interview gladly and gave me a job! He would later teach
me about accounts receivable and payable, taught me all about Excel spreadsheets how the
internet works, he also taught my son how to give a stern manly handshake at the age of 6,
something that my now 19-year-old remembers to this day! Marty, always treated his team like
family and always providing lunch for us, invite us over for movie nights, pool parties and we
celebrated our kids’ birthdays together!
I have great respect for Marty Mizrahi and feel that this conviction is so un-characteristic of him.
In the times that I worked for him he was such a smart business savvy man, so generous and
trustworthy, and a lifesaver for me, and my young family. I find these offenses completely out of
character and its unimaginable that he would put his, his children’s, and his parents’ livelihood in
jeopardy.
His family values are strong. He has a such a strong bond with his children Autumn and Kylee
and his parents. He always made sure they were taken care of. As his parents are getting older
now I would suspect they are even more dependent on Marty and that these years together are
more important than ever. I know this whole ordeal has upended all their lives and not just his.
I do know that no matter what outcome is... my opinion of Marty will never change! He will
always hold a special place in my life, he taught me so many life lessons and showed me how to
push myself further which I use now in the medical field. He has always been such a positive
person full of energy, that I am sure he will figure out a way to turn this horrible situation into a
blessing.


Thank you for your time,


Lora Baldridge
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  Dear The Honorable J. Paul Oetken,


  My name is Jason Barry, and I am a software engineer in San Francisco, CA. Alongside
  me is my father, Joseph Barry, a retired clinical psychologist in Oxnard, CA. We are
  writing to provide a character reference for Marty Mizrahi, who is currently facing
  sentencing.


  As cousins, I have known Marty my entire life, and my father has known Marty since he
  was born. We have grown close with Marty through family functions and gatherings over
  the years. We feel that we know Marty very well.


  Given our long history and close relationship with Marty, we firmly believe that it is out of
  character for Marty to do what he is accused of. Throughout his life, Marty has shown
  nothing but honesty, generosity, and a strong sense of responsibility towards his family
  and community. Here are some examples that speak to his integrity:


  • Marty is a family man, raising two daughters with a son on the way. He built his
    parents ’home inside of his, showing his daughters the importance of a multi-
    generational community. He is dedicated to his family, whether preparing his
    daughters for college, attending family events, or dancing at our cousin’s bat mitzvah.
  • Marty graciously opened up his home to me and my friends when I was a student
    visiting Las Vegas. I know he is trustworthy because he clearly puts his trust in
    others, even if they are new acquaintances. He is always willing to pick up out-of-
    towners from the airport himself, despite his busy schedule.
  • One example of community contributions is that Marty has delivered free, reliable
    WiFi service to Downtown Las Vegas via LV.Net, enabling public access to
    information and communication for the masses. As an engineer myself, I know this is
    an impressive feat on a technical level, but more importantly, I recognize the value
    that it brings to the public good.
  • As a vegan who abstains from alcohol and smoking, Marty leads a lifestyle that
    reflects his dedication to health and ethical living.
  • I've seen Marty maintain positive relationships with former coworkers when he
    introduced me to his former colleague/mentor. It showed me how much he values
    cultivating relationships and maintaining a positive work ethic.
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• He is an excellent listener, giving his full attention during conversations and not
  getting distracted by his surroundings.


We wholeheartedly vouch for Marty’s good character and believe that he will continue to
be a constructive member of society. His absence would be a disservice to the lives of
his family members and the broader Las Vegas community. We ask for your sympathy
and leniency in recognizing the positive impact Marty has had on his loved ones and
community.


Thank you for your time and consideration.


Sincerely,


Jason Barry
Joseph Barry
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Honorable Paul Oetkin,

My name is Ronald Barry. I’m a cousin of Marty’s. I have known Marty all my life. I currently
take care of my mom as she’s dealing with major health issues. Marty has always been
someone I’ve looked up to due to his business acumen. I’ve always known him to be an
honest, hardworking, generous person and a great father to his daughters. He’s never
taken a drug or alcohol in his life, which tells you a lot about his character.

When I heard about Marty’s conviction, I had a hard time believing it, but the news made it
sound very real, I laughed out loud because that is so farfetched of Marty’s character. I
wanted to know the truth, so I got a hold of the trial transcripts and read all 2300 pages,
and Marty’s text messages to Joel Zubaid. When Joel was on the stand, he couldn’t answer
many questions and said I don’t know over 100 times. Sounds to me that there might be
some errors.

I didn’t see proof in the transcripts, nor do I believe Marty is capable of doing the things
he’s accused of. Marty has always been honest with me and all our family. He doesn’t
take shortcuts and doesn’t look for easy money. Always trying to do right and make the
slow dollar.

Although Marty lives in Las Vegas. He comes to Los Angeles for all the family events. My
whole family (including my mother) always lights up when we see him. He’s always a
positive person and never has a bad word about anyone. And when family goes to Las
Vegas (myself included) he always offers his home to stay at and is a gracious and
generous host. And will take time out of his work schedule (which is hectic) he sometimes
works 20-hour days but still takes time to spend with you.

He’s a pillar of the community in Las Vegas and held in high esteem in our family. My
opinion of him as a person hasn’t changed at all. Sending him to prison will be an extreme
hardship for not only his daughters, but his parents who he has always supported
(emotionally and financially) Please take this letter in consideration when judging Martin.

Thank you,
Ronald Barry
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My name is ShyLynn Berlie,

I have known Martin Mizrahi for 33 years. I was just out of high school and his family hired
me to be office personnel for a growing wholesale computer company that helped me
become whom I am today. If it was not for Marty and his father in which I call dad, I would
have not made it in this life. They invited (the broken) me into their loving, humble and
welcoming home. This is where we first started the computer business and build it from
the ground up, resulting in the flourishing stability that Las Vegas businesses and
resistance depend on today. Vegas.net!

I still have never met "in my entire life" a more giving, understanding, excepting,
compassionate, loyal, stand alone man! This I say wholeheartedly! Marty has not only
changed my life in so many ways, he has changed countless lives and helped build them
up along with their families, all with pure love. He has given many countless hours, and
sleepless nights and years to the community as well as built his own beautiful family in
which he loves with everything. With a new baby on the way he is only building a bigger
empire to help each and every person he comes in contact with. Marty has always shown
me the positive side of life even in my darkest days, because of him I was able to see all the
light. He has shown me in actions what it is to be an outstanding soul with the biggest
compassionate heart. He is "the man" anyone and everyone has always been able to turn
to. I look up to Marty in so many ways, and he was and still is my mentor. Whenever I have
business or life questions I always call on him to help. He drops everything to help me at all
times.

Maybe perhaps this is why I am in the position to write you this letter today. I'm sure he was
trying to help and took the person or person(s) for face value and ended up getting swept
up in a mess he had no idea what was happening till it was something he couldn't fix or
make better on his own. I know Marty and I know this has tore him up inside. I know he will
do everything to make this right and show everyone he loves and who loves him that
everyone makes mistakes in this bumpy road called life.

In no way has Marty lived his life without integrity, care and putting his best foot forward.
His intentions are always golden and to never hurt or harm anyone, always only to help. He
is a stand up man and has always stood by his word. He is a man who has and would give
the shirt off his back to help anyone whom needed it.

For instance a fond and most memorable time and experience was Marty being the one
whom bought me my first car. Driving it from California, calling me asking me if I would ever
want a convertible. Me having no idea that he went to great lengths to go purchase a car for
me, and being the thankful, grateful young lady, I say "no, I don't need a convertible car, but
thank you" hahaha. Well to my surprise he drove the Red cabriolet convertible rabbit to the
warehouse and asked me to meet him there! Little did I know I was going to have my first
crash course and driving stick shift, let's just say it wasn't the most graceful experience.
But he was super patient as he taught me how to drive my first car. It was one of the best
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presents I have ever received from anyone in my life. His family always welcomed me and
made me feel like I was part of the family. Marty has always been a brother to me. I've
always considered them my second family! With all the gatherings, family celebrations,
birthdays, just pure love and I am truly a blessed girl.

Marty also has given alot to his brother, his older brother. Gary always struggled with drugs
and living a wreck less life. There were many occasions where Marty would have to save his
brother and pay for his rent, buy him a car, send him money. But mainly being encouraging
and supportive, always just loving his brother for who he was. Even at the end when
everyone seen it to be a never ending battle, Marty was the one still stood by his brother.
They had a bond that you could see from across the room. Even in his brothers final days
with going in and out of the hospital for all the drug use Marty still loved his brother. Marty
was the one who gave Gary a proper funeral to be sure everyone could say there goodbyes.
Loosing his one and only brother was crushing to Marty but he was the strong one! Holding
all of us together.

Marty has always been the one whom everyone holds dear and with high value in their
lives. He has always been the light, the reason, the force that has driven so many to live a
beautiful life. He doesn't judge nor look down on others, he doesn't like when ladies even
use cuss words, he loves for everyone to feel included and together. I'll say it again Marty is
the most stand up, solid man I have ever met! And with owning my own Wedding Business
here in Las Vegas I have had the pleasure to met and know alot of souls, ones that are
native as well as the ones whom have traveled here from all over the world. Marty still
holds the torch for so so sooooo many of us. And again when I need any help with my
business, I call on Marty. He is like a brother to me.

I would like to simply ask if you could keep in the forefront of your making a decision with
the outcome in which you are presented with, there are many many lives that count on
Marty. Whether it is his bright smile that lights up the room in which he enters or the
corporations and businesses that depend on his outstanding and continuous growing
Internet providing business. We All Need Marty!

Thank you for your consideration and time in reading my letter. I put my heart and soul into
writing this and this is what Marty has always done for me.

Sincerely,


ShyLynn Berlie
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Joshua Bird
joshdbird@gmail.com
808.385.9355
6/24/2024

The Honorable J. Paul Oetken
United States District Court
Southern District of New York
500 Pearl St.
New York, NY 10007

Dear Judge Oetken,

My name is Joshua Bird, and I am a Real Estate Broker currently residing in Hawaii. Prior to moving here, I
lived in Las Vegas for seven years, during which time I had the distinct pleasure of meeting and forming a
close friendship with Marty. I have known Marty since 1998, having been introduced to him through a Jewish
professional networking group. Although I have not seen Marty recently, I still hold him very close to my
heart because of the profound impact he has had on my life and the lives of many others.

Marty is an exemplary human being who embodies the qualities of love, generosity, and support. He is not
only a devoted father and son but also a steadfast friend who is always ready to lend a hand to those in
need, even strangers. From the moment I met Marty, I was struck by his welcoming demeanor and
energetic personality. He immediately made me feel at home in a new city, which speaks volumes about his
character and kindness.

I was particularly impressed by Marty’s commitment to a lifestyle free of alcohol and smoking. In a city like
Las Vegas, where such temptations are prevalent, Marty’s choices made him a role model not only for me
but for many others around him. His respectful and altruistic nature is evident in his everyday interactions.
Marty has always emphasized the importance of honesty, consistently sharing his philosophy that honesty is
the best policy in life.

Marty's thoughtfulness and concern for others are unparalleled. He has made significant contributions to his
community, often volunteering his time and resources to support local initiatives and help those less
fortunate. His good reputation is well-deserved, as he is universally liked and respected by all who know him.
Marty’s professional work is of the highest quality, characterized by diligence, integrity, and an unwavering
commitment to excellence.

One particular instance that highlights Marty’s character occurred when I was going through a difficult time
personally and professionally. Marty not only provided emotional support in a very dark time but also offered
practical advice that helped me navigate through my challenges. His unwavering support during that period
was instrumental in my recovery and growth. This is just one of many examples where Marty’s actions have
had a positive and lasting impact on the lives of others.

Despite the charges against Marty, my opinion of him remains unchanged. His conviction is wholly
uncharacteristic of the man I have known for over two and a half decades. Throughout our friendship, Marty
has always adhered to the highest standards of integrity and honesty, both personally and professionally. It
is unimaginable to me to think that he would have committed the offenses he has been accused of.

I am acutely aware of the negative impact this situation has had on Marty’s life, particularly the strain of
being away from his beloved daughters and parents. Marty is incredibly close to his family, and the prospect
of being separated from them is undoubtedly devastating. Nevertheless, I have faith that Marty will turn this
challenging situation into a positive learning experience, as he has always done in the past.

In conclusion, Marty is one of the most honorable, giving, positive, and honest individuals I have ever
known. I trust that these qualities will guide him through this difficult period and help him emerge even
stronger. Thank you for considering my perspective on Marty’s character.

Sincerely,

Joshua Bird
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Conly Chi, Esq.


Los Angeles, CA 90212


July 24, 2024


The Honorable J. Paul Oetken
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007


Dear The Honorable J. Paul Oetken,


My name is Conly Chi. I hold a B.S. from U.C. Berkeley and a J.D. from Harvard Law
School. Currently, I am an operator and investor focusing on affordable housing and
providing college education opportunities to underserved students.


I have known Marty Mizrahi since 1989. We ﬁrst met in high school and have remained
close friends ever since. Over the years, I have had the privilege of seeing Marty grow
into the remarkable person he is today.


As a childhood friend, I can conﬁdently say that I know Marty very well. He is an
exceptional individual who has consistently demonstrated kindness, generosity, and a
strong sense of responsibility. Marty is a dedicated father of two and a successful
businessman. He has always been generous with his time and is remarkably responsive
when it comes to helping others. His willingness to assist me and others in our
community has earned him a stellar reputation, and he is well-liked by all who know him.
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One of the many instances where Marty came to my aid was when I was a 17-year-old
ﬁrst-generation immigrant in 1988. I was constantly ridiculed and bullied, but Marty was
one of the few people who accepted me and shielded me from the harsh treatment I
faced. His kindness and support during those challenging times have left a lasting
impact on me.


More than 30 years later, I trusted and relied on Marty to act as a trustee for my children.
When he was removed from this role as a consequence of the current case, I was deeply
distraught. Marty is someone I trust implicitly to act lawfully and honorably. I hope you
consider keeping him out of jail so that I can rely on Marty for this crucial responsibility
again one day.


In my frank opinion, Marty Mizrahi is a person of outstanding character. His integrity,
reliability, and compassion make him an invaluable friend and community member. I
wholeheartedly endorse him and believe that he embodies the qualities of a good and
trustworthy person.


Sincerely,




Conly Chi
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Dear The Honorable J. Paul Oetken

My Name is Aaron Christensen, Father of 4 , Husband , Chef & Animal Advocate.
I've known Marty Mizrahi since 2006 for almost 2 decades.

In 2006 Marty (LV.Net) partnered with a company I was working with called "Barvision" .
They were our Las Vegas reseller & tech support for our Inventory control product. I was the
Director of Sales for the west coast in charge of the reseller program.

Barvison sold after the passing of my mentor / Boss in 2009. I joined LV.Net in a Sales &
Marketing roll working directly for Marty. I have been a part of LV.Net & LasVegas.Net ever
since . Most recently Marty & I partnered on a food truck. He purchased the truck for me to
operate. I've been the company Chef since 2018. Operating the company branded food
truck at local festivals & company events. We didn't always agree or see eye to eye but
because of our relationship I knew through communication we could come to an
agreement that satisfied both of us.

Marty has been more than an employer . He has become family. I lived in his home . Spent
holidays with him & his family over the years . He has always had my back through many
ups & downs . I know Marty better than my own sibling. When I got divorced a few years
back he was the first person to reach out. He offered me steady employment & a roof over
my head. I'm forever grateful for his mentorship , guidance & support over the almost 20
years of friendship.

Marty has always been a straight shooter. He would do anything for me & my family. I've
never questioned his friendship over the years . We have many mutual friends & I have
never heard anyone speak negatively of Marty. Over the last 10 years I volunteered for
many local Charities including "The Just 1 Project" & "Three Square '', many times I needed
his resources including trucks , volunteers , advertising etc... He didn't hesitate to help. He
not only let us take his trucks to feed the homeless and elderly he actually came with me
multiple times to help load/unload the trucks & serve. He loved helping people & charities
as much as he could.

Bottom line Marty has always been a role model. Watching how amazing he is with his girls
& parents has helped me be the father / husband I am today. I've seeked Martys advice &
guidance over the years business & personal. I wouldn't be the successful business man
that I am today without his support and friendship.

Best Wishes
Aaron Christensen
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‭Dear The Honorable J. Paul Oetken,‬

 ‭ y name is Becca Coco, and I am the Business Coordinator for Cellular Sales. I am‬
 M
 ‭writing this letter to offer my perspective on Marty Mizrahi, who I have had the pleasure‬
  ‭of knowing for four years. In my current role, I have had the opportunity to know Marty‬
   ‭through managing his Verizon business account for LV.Net. Over the years, our‬
‭relationship has grown from professional acquaintances to close friends.‬

 ‭ hroughout our friendship, I have come to know Marty very well. He is a person of high‬
 T
‭integrity and has consistently demonstrated qualities that I deeply admire.‬

‭ arty is honest, law-abiding, and generous. I recall several instances where he went out‬
M
 ‭of his way to help others. For example, when we had a mutual friend going through a‬
  ‭mental health crisis he was the first one to step up and make sure he received the help‬
   ‭he needed while minimizing the damage he could inflict on his own life. His actions‬
    ‭speak volumes about his character and his dedication to making a positive impact on‬
‭those around him.‬

‭ arty consistently shows thoughtfulness and concern for others. He has made‬
M
‭significant contributions to our community. His efforts have not only benefited‬
 ‭individuals but have also brought about meaningful changes and jobs within the‬
  ‭community.‬

  ‭ n a personal level, Marty has had a profound impact on my life and my childrens lives.‬
  O
‭He has been a mentor and a friend, offering invaluable advice and support. When I was‬
 ‭starting my own business from the ground up as a single working mother he was there‬
  ‭at all hours for guidance. He dedicated his time and knowledge to me without any‬
   ‭financial gain. I would not be where I am today without him. His guidance and support‬
    ‭have been instrumental in my personal and professional development.‬

I‭t is important to acknowledge that Marty has been charged with a violation of the law.‬
 ‭Despite this, my opinion of him remains unchanged. His conviction seems‬
    ‭uncharacteristic of the person I know. Throughout our time together, he has always‬
  ‭adhered to ethical standards and has been a model of integrity and honesty. The‬
   ‭charges against him do not align with the Marty I know, who has always been a positive‬
     ‭influence in my life and the lives of others.‬

I‭ understand the severity of the situation, but I firmly believe that Marty will turn this‬
 ‭challenging experience into an opportunity for growth and learning. His commitment to‬
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‭ is family, especially being away from his daughters and parents, is something that‬
h
‭weighs heavily on him. I am confident that, regardless of the court’s decision, Marty will‬
 ‭continue to be the honorable, giving, and positive person I have always known.‬

‭ hank you for considering my perspective on Marty. I hope my insights provide a fuller‬
T
‭picture of his character and the positive impact he has had on many lives.‬

‭Sincerely,‬

‭Becca Coco‬

‭712.843.6387‬
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Dear Honorable J. Paul Oetken,

My name is Joshua Tristan Cozen-McNally; I’ve lived and worked in Clark County since
2001 and I met Marty almost 10 years ago in the downtown arts district.
We found common ground in our communications and media related activities; although
we stopped working together several years ago, Marty and his family continue to be part
of my life to this day.

I've always appreciated that no matter how big and diverse Marty's world became over
the years his familial approach to those who cross his path is constant.
You can count on Marty always willing to give somebody a hand up and not a
handout. I have seen that mindset serve him well and I have also witnessed people
take advantage of that generosity. When Marty sees opportunity, he then creates
opportunities for others including hundreds of jobs in the decade that I have known him.
Routine and rules are also something you can count on with Marty and yet, he always
listens to new ideas encouraging you to take ownership of your task at hand.
Second, and then third chances also seem to be the norm when it comes to associates
or employees which simply says that Marty is always looking for you to put your best
foot forward.

It's for these reasons that I have a hard time believing that Marty would jeopardize or
intentionally risk all he holds dear to make an extra dollar.

I hope that I have effectively conveyed how Marty makes a positive difference in the lives of
those that surround him and that I am grateful to be part of the LV.net/Mizrahi family.

Regards
Joshua

702.300.0169
joshuatristan@hotmail.com
www.702today.com
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                                                                                 6-22-2024
To the honorable Judge Oetken,

         My name is Ashley Davis. I have been Martys girlfriend for 4 years and probably the closet
person to him. I am expecting my first child with him September 10 th. I am sure you heard my
name in the trial and saw me present there from beginning until end. I apologize in advance for the
length of this, but I humbly ask you to read its entirety, as I feel theres a lot you should know when
considering your sentencing.
         I was born and raised in Las Vegas, 3 generations. My mother passed away when I was 7,
and I was my fathers only child. Growing up was tough after her death, I dont have much family
other than my grandmother in Texas (who is now 104) and my dad struggled to get by. He was in a
horrible car accident in the 2000s, hospitalized for a year, and disabled in many ways ever since. I
started working at 14 years old after school to help my dad and try to make something of myself. I
was a straight A exceptional student in all AP classes and wanted to go to law school, was
accepted in many great universities, but declined due to my dads financial situation and the need
to work to help support him. Unfortunately, with not much guidance, and since 18 was with a very
toxic PERSON for over 10 years. I did however work my butt off, learn the ins and outs of business,
and have had success in the car business since 2015. On a personal & emotional note, I was in a
very bad place, I was extremely unhappy and saw no way out of my relationship, until Marty came
into my life.
         Marty and I met working across the street from each other in 2018. At the time my car
dealership was across the street from his main internet building in Las Vegas (a bad area of town)
We saw each other across the street for years, but never spoke, there was a tiny Mexican
restaurant/shack next to me I would regularly eat at, and one day Marty was too. We sparked a
conversation. We became friends immediately and talked every day, I never really had anyone to
talk to about my personal situation. Marty was so genuine & made me feel comfortable, and I laid
it all out to him how bad of a relationship I was in and needed to get away. He right away started
thinking of a game plan to help me. It was a mess. Marty wanted or expected nothing in return
from me, which was shocking. My ex was basically an obsessive sociopath that didnt want to
allow me to leave. He caused Marty many problems, which he should have run & steered clear
away from me then but he delt with it for me, my ex put him through hell, even stole a great deal of
money from him, but Marty stuck it out with me until I got away. I had a lot of issues I didnt see at
the time emotionally due to my ex and as much as Marty hated it he helped me see them and get
past it. But eventually I was able to leave with Martys help, and Marty and I fell in love very fast
and were inseparable from that point on. We went through a lot of trials and tribulations, but I
account our success to him being such a good man, extremely (sometimes too honest), loving, a
listener, nonviolent, doesnt yell, when mad he talks things out maturely, hes gentle, when hes
wrong he admits it, he changes for the better to move forward, hes positive and always wants to
find a solution for any problem, and he always makes time for me no matter how busy he is.
         Your honor to understand why and how Marty got himself into this mess is to understand
Marty Mizrahi the man, and 1 day on the stand is impossible for you to understand him. So, Im
going to try my best to tell you.
When I started to get to know Marty, he was like a Unicorn. I didnt believe what he was telling me,
because it didnt make sense. He told me he worked up to 20 hours a day, rarely slept, never
drank, never did drugs, never smoked, was a vegan, a full-time dad to 2 daughters and took care
of his parents who lived with him the last 30 years. Marty has a very kid like presence to him. Hes
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extremely mature when it comes to life, responsibilities, fixing things but his emotional maturity is
sometimes that of a child. Hes like daddy day care. He loves watching cartoons or kid movies and
he loves playing games with his kids and their friends.
         Marty has hundreds of friends and is still best friends with a lot of his childhood buddies.
They see and talk to each other all the time. All these things were unheard of to me from someone
as successful as he was. He also described unique personality traits of his, that all sounded
unbelievable. An example he said I dont lie I might hurt your feelings but Im always honest and
also I dont exaggerate much I thought this guy had to be full of it and sure thats what they all
say. Another quality of his that I admire is hes always done things by the book. Ive even come
to him with ideas, or great opportunities with huge financial potential, and he sees 1 small thing
that might be wrong and immediately exiles it out and says no. Even his daughters, he doesnt let
anyone take the shortcuts and advises me and everyone on the correct way to do things
Financially Ive never seen someone more meticulous with their taxes and wanting everything
done perfectly. He has them triple checked by I think 3-4 people to make sure theyre perfect
every year. He never wants the easy way out, or the quick money, he wants to work for it no matter
how hard something is. Until more time went by, and I witnessed everything he said to be more
than true. It was truly shocking, I had never in my life met anyone like him, he was truly one of a
kind, an ANOMALY. He underexaggerated most of what he told me.
         Marty is a family man. He has 2 beautiful, smart, kind daughters Autumn and Kylee. If there
were awards for dad of the year, Im confident Marty would be a reigning champ. He would also
win for son of the year for everything he does for his parents. No matter what is going on, he will
usually drop anything if his family or I need him. He has physically and emotionally done the world
for me, and I could never be as grateful for someone coming into my life as I am him. Beyond our
relationship, He is truly my best friend. He is the most reliable man Ive ever known to everyone.
His word is gold. He is my confident, who I go to for advice, my problem solver, my personal
accountant, my fix it man, my dogs dad, my fathers son he never had, my emotional support, my
therapist, and I genuinely have no idea what I am going to do without him, and it breaks my heart
into pieces to think of that future. I went through 10 years of hell, to for once in my life find
someone perfect for me, I want to spend the rest of my life with that makes me such a better
person, and I now may lose him.
         Marty is one of the most selfless, hardworking people I have ever known. He will work
endlessly to solve problems, help employees, figure out solutions to problems, or even to do a
physical labor job installing something. No job is to good for him He has a genius brain when it
comes to technology, internet, taxes, numbers, and business. Ive never seen a boss to his
employees so incredibly respected and held to such a high regard as Marty. I have seen him
throughout the years help so many of his employees with their personal lives. Whether its a
customer service employee who needs surgery and doesnt have coverage. An employee who is
behind on rent and bills. If an employee wants to lose weight, hell give them a gym membership
and hire a personal trainer and teach them how to eat clean. When his employees want to venture
out and try new things, Marty always hears them out, and gives them advice. People who arent
afforded many opportunities such as people who have struggled with addiction or criminal
backgrounds, hell give them a job with no judgement. Phil is a great example. Phil was in and out
of jail & addiction, and Marty gave him a job. I dont remember how many times Marty put him
through detoxes and rehabs (along with countless other people) Phil took care of Martys
buildings, helped in any physical job needed, and even helped Martys friends and family move
when they needed him. Marty did so much for him, even after he was caught stealing, Marty made
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him pay him back and then Marty started helping Phil get custody of his kids back, bailing him out
of jail, buying him a car, giving him and his kids a place to live. Marty always saw so much
potential in Phil, he kept giving him more chances.
         I cant tell you how many homeless people Ive seen Marty hire and take care of Even just
to clean the trash up from around his buildings. Ive seen him give them cellphones, clothes from
his closet, and always meals and waters on his way back in the office. Lonnie is an example and
has been around the longest at Martys office for years. Lonnie is a gentle sweet homeless man.
Hes been down on his luck for years, and Marty treats that man the same exact way he treats the
COO of his company, with kindness and respect. I think Marty single handedly brought a spark
back in this mans life and its a beautiful thing to witness. He gives people chances, some
probably that he shouldnt in my opinion. He loves to help people and he says that all the time. I
know that sounds cheesy, but its the truth. He truly enjoys and goes out of his way to do whatever
he can to help people, even if he doesnt know them, hell go the extra mile. I remember when we
started dating, we left a restaurant early because of a call he got at dinner. Marty said we had to go
run an errand. We drove 30 minutes to a horrible side of town to give one of his employees that
needed cash for something for his kids school field trip the next day. These little things he did
always stuck with me. I also remember being at his companys annual holiday party about 4 years
ago. A guy named Tony and his wife came up to Marty and I and began thanking Marty with tears in
their eyes, they explained to me Marty saved my husbands life The story is Tony & his wife told
me Tony was extremely sick and unhealthy in and out of the hospital. Marty got him insurance that
he didnt have and intervened, forced Tony to quit smoking cigarettes, and worked with him daily
about his diet, went to the gym with him, and trained him. Tony told me he was alive today
because of Martys intervention. I could tell you 100 more stories of people I have encountered
throughout the years with Marty that he has done the most beautiful things for. I have heard from
his friends other stories and I could only imagine the stories of everyone in the 45 years before I
met him and how many lives hes truly touched or changed for the better.
         Marty having some of the most incredible & selfless qualities a human could have, comes
with his downfalls. He can be naïve and completely over trusting, he believes things on the
surface. But for someone looking to take advantage of Marty and his money, he is sometimes an
easy target. Ive seen people do it, Ive heard of past women who have done it, business partners,
friends and even family members all have taken advantage of him and taken his kindness as
weakness, which to me is one of his biggest weaknesses. Ive always said he is the Smartest
Stupidest person Ive ever known. I know thats hard to believe considering the caliber of his
success. Reading, contracts, paperwork, comprehending what he reads is hard for him, letting
people take advantage of him easily. If I send him a text or email more than a sentence or 2, he will
either skim it, wont read it, or get back to me way later. Something in his brain cant comprehend
long or drawn-out words. Ive had to read and explain things to him many times for him to truly
understand it or give multiple examples. I also must follow up with him sometimes 2-3 times,
because he forgets, and deletes emails if theyre too long. In his defense he was always extremely
busy, he gets about 400 emails a day, works all hours of the night and his management and
delegation of that is admirable. He also always has so much going on, 5-10 meetings a day on top
of a huge workload. He has people constantly in-n-out of his office with business
opportunities/investments/ideas. Ive seen him turn down hundreds of people, but I guess
occasionally, a few slip through the cracks like Joel. I think it was because he knew him for so
many years as a friend. This has dramatically changed since this case, his schedule isnt
anything like it used to be and he stopped accepting those meetings, thankfully hes had a great
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team of employees through the years that have made up for his weaknesses, because he has so
many strengths. For someone who loves him so much, it has driven me crazy to see people take
advantage of him, and seeing things I wish he did that he didnt.
        In 2019 I learned Marty invested in a car dealer. Martys plan was eventually to have me
leave where I was and run that much bigger dealership. I started asking Marty questions thinking
things were off with the amounts he was giving him, and what he was telling Marty in return. I dont
know internet, or bitcoin, or real estate but I know the car business. When I raised a lot of
concerns I had, Marty immediately told me Well there must be an explanation Anderson the
owner of the car lot would never screw me over. I said stuff wasnt adding up. Turns out, as I
suspected, it was all lies he wasnt buying cars with Martys money, he was living lavish spending
money at jewelry stores, vacations, shopping, etc. Marty was almost ready to give him another
$500k when I caught this. He still wanted to believe Anderson didnt have bad intentions, when I
told him he needed to prosecute. The guy tried to steal Martys vehicles and it just went downhill
from there and Marty lost about $1 million.
        Marty is someone who chases accomplishments and success but never money. I
remember the opening statement in the governments case was this case is about greed That
couldnt have been further from the truth. Marty doesnt have a greedy bone in his body.
(Definitely Frugal) but hes the most generous person Ive ever known, to a fault. I cant even get
him to buy a $100 shirt to go out to a nice event, he would rather go to Ross. He doesnt care
about flashy stuff at all. Hes always been financially secure with his internet business, that the
side businesses he invests his time and money in for the thrill of building something new and
seeing it through from start to finish. He likes accomplishing things people think he cant. Thats
why he has entertained and invested in so many different things, he loves hard work and seeing
things through. He also loves to employee people. He has never done it for money or been greedy.
        Marty had it pretty rough at the end of 2020 right when all the Joel Zubaid stuff started. He
normally doesnt show his emotions or express concern, but back-to-back to back he had major
things happen. His brother died which I know crushed him. Then his assistant for over a decade
Rachel died and she literally helped him with everything. She was Martys right hand in his
business and personal life, so I know that was really hard on him, he had to start doing a lot
himself that he had never done before. Then he also got really sick with Covid in January of 2021.
He was down for over a week and took him quite a while to get back to normal, he had major brain
fog. In December of 2020, Marty went to a local casino to pay for damage to one of his company
cars and was attacked by four men. It was bizarre, and I couldnt believe this happened to him.
Since that point he wasnt the same, he was in constant pain, he had a hard time sleeping, he had
nightmares, he wasnt his normal happy fun self, he had anxiety, sexually he didnt want to
engage, seemed like he wasnt listening when I was talking, His mind wasnt clear, the biggest
part was he was forgetting things left and right, and it truly affected him and our relationship
suffered because of it. Literally a month after the attack is when he started doing business with
Joel.
        Your honor, I am one for Justice and law and order and I believe criminals who try to hurt
people or steal should be punished, but what I dont believe is someone who is naïve and blinded
to suffer being charged and facing sentencing that of a nationwide drug kingpin. Marty has
suffered nothing but losses for the last two years, is someone who takes care of dozens of people,
someone whos employed hundreds, someone who has dedicated his life to giving. I dont believe
someone like that should rot in prison. The losses Marty has suffered from this case are more of a
lesson of any lifetime than prison could ever come close to teaching him. Prison will not reform
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him in any way, it will just halt the good he can do in the world and keep him away from all the
people that need him the most. It would just be breaking up a family that doesnt deserve it for no
good reason. In the five years Ive known Marty he has always had a positive attitude and tried to
look at the good in things, but I can assure you this was the most eye-opening awakening he has
ever experienced that has dramatically changed the course of his life forever, and I can assure you
he has learned from his mistakes. He is aware now of all the mistakes he made, hes apologetic,
regretful and understands the severity of what those mistakes have cost him and will never put
himself in a situation like that again. Since the trial, he doesnt engage himself in anything to do
with cryptocurrencies or cash, he doesnt overlook messages or emails, he doesnt put himself in
positions that would even remotely put him at any risk and most importantly he is done being
naïve and trusting peoples word.
        Throughout the last 4 years with Marty, Ive struggled with infertility. We got pregnant a few
times and had miscarriages early on. In January I received a positive pregnancy test. I figured the
outcome would be the same as in the past. Especially with the stress of the trial and outcome. I
thought I had a miscarriage the day the verdict was read, I had all the symptoms. A month later
back home in Vegas I found out I had a healthy little boy almost 4 months, probably the happiest &
scariest day of my life. I would have never thought in a million years this would be happening at
the worst possible time it could. The man I know & love, the man that made me change my mind
about trying for kids, is now facing potentially my unborn childs entire childhood in prison.
Fatherless homes are the reason for so many horrible statistics of boys making bad choices, I
dont want my son to be another statistic, not by the choice of his father not being able to be there
and do the things I am unable to for him. Every kid needs their dad, especially a dad like Marty who
gives his all to his kids and prioritizes them in every way despite his hectic schedule. Even with
this conviction on Martys name, I couldnt be prouder of him being the father my son can look up
to and I have zero shame in him for this circumstance. Marty is not a criminal; he couldnt be
further from one, he just made some big mistakes. Hes a genuine great man thats gone his entire
life doing the right thing.
        I also saw how incredible he was with his parents. Its not often you see people still have
their parents live with them and keep them so close and involved in his and the girls lives. His
parents are amazing, truly a fairytale story of love. Marty is literally their world, and I know they live
for their weekly family dinners and outings with him. The family Marty has built and maintained is
truly admirable.
At some points in the trial, I thought I was in the twilight zone. I was hearing testimony about a
violent man, a money collector, a thug, a man who beats people up because that couldnt be
further from the truth of who Marty is. Marty has never even been in a fist fight or even remotely
showcased any type of violence or intimidation whatsoever towards anyone. I would be the one to
get into an altercation standing up for him before he would for himself. This man wouldnt hurt a
fly. He instead would de-escalate a bad situation to a good one. Marty turns every negative to a
positive as best as he can and always talks through things. Marty is a talker, a problem solver, and
a solution-based arguer. He is not a fighter. I remember the testimony and proffers David Goran
and Joel Zubaid did saying that Marty had kidnapped and beaten Andrew Demaio. For months we
had been trying to subpoena Andrew Demaio unsuccessfully. Andrew Demaio told our
investigator the FBI had already interviewed him. When we asked the government about the
interview, they then provided a handwritten FBI note taken during the interview of Andrew Demaio
stating he had never been beaten or kidnapped and never heard of Marty Mizrahi. It was mind-
blowing to me that the lie was able to be told, and we couldnt do anything about it. There were so
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many other instances just like this in the trial. The prosecution did a great job in this case, they
painted a story of a greedy fraudster criminal who intended to defraud and steal from all these
people. If I wasnt present during the time of these incidents and I didnt know Marty, I would have
thought he could have been guilty of a few things too. But I was there, and I do know Marty.
Therefore, their win is that much more heartbreaking
        Other things I heard in the trial is that Marty knowingly was laundering money for a Mexican
drug cartel. Marty would never. He hates anything to do with drugs. His brother died from drugs,
hes lost relationships with his daughters mothers, and friends due to drugs. Marty is the most
anti-drugs or anything that comes from drugs. He wont even watch a lot of movies or
documentaries with me if its drug related and children involved, because he hates seeing or
hearing anything to do with it. If someone even smokes a cigarette around him, he asks them to
leave or he leaves. He would never involve himself in something he morally and on a regular basis
stands so against. No amount of money in the world would ever compromise that. So theres no
way in hell he would EVER intentionally be involved in anything from the sale of drugs. Ive been
around this man almost every single day for 5 years. I have never ever seen people like the type
described in the trial, especially never in his home other than Joel. Joel came around a lot, and
only with who he said was his driver, but he never talked. I saw Joel mainly at Martys house, his
office and restaurant once. After being present for so many of the times Joel came around, I would
never ever think something illegal was going on. It was always Joel saying, his new big investor, a
big political person, a real estate developer, a hotel chain owner telling Marty of his wealthy
investors, talking about real estate and bitcoin, and buying a building together to build Martys
crypto plan. Never ever did I hear a conversation about laundering money, fake credit cards, drug
cartels. It always was above water conversations, but Joel did sound to me like a car salesman.
        I was suspicious of Joel. I felt he was always overselling Marty these huge dreams. Joel
knew Marty was screwed over in his partnership with Core scientific to build his dream huge
crypto mining facilities and operation. He used it and he ran with it. I felt he overcompensated
with storytelling, and he played off his knowledge of Martys nonstop busy schedule and day to
day operations. He soaked up every word Joel said to him, and nothing could have made him
believe different at that time. Marty would say this is my friend Ive known him 10 years, hes very
successful he owns a hotel, a big real estate guy who owns 30 properties in CA, hes connected to
a bunch of highly respected wealthy people, Joel would never screw me over when Marty
believes someone Ive learned, gives them the benefit of the doubt & sadly theres not much
convincing him different unless you have black and white evidence, like I did with Anderson the
car guy. Marty was the perfect mark, hes so easy to screw over sadly when he thinks youre his
friend. I highly regret not putting more of a foot down and forcing him to see red flags with Joel as
they were coming in. But I dont think I even (the pessimist/untrusting person that I am) could
have ever saw what this situation became. I would have never thought Marty would have been
arrested due to those transactions. Ive seen Marty do hundreds of bitcoin transactions over the
years, and Joel just seemed like all the rest of them (with the wild big dreams/stories
attached) After seeing the governments discovery and watching Joel on the stand in this case, I
now know that Joel was a career con man. He did this for a living, hurting, lying and stealing from
anyone he could with false promises & made-up stories for decades, for Joels financial gain. The
biggest red flag I saw was my bank account. I remember Joel convincing Marty the only way he
could receive money was through a Wells Fargo account that was active over 10 years thats
why he asked to use mine. Then when he asked for the login details, I immediately was
suspicious. I tried explaining to Marty there is no way he would need all this to send you money.
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Marty called Joel in front of me asking all my questions. Joel gave this crazy elaborate story how
his investor/client was out of the country and the only was it would work is if he logged in and sent
some request. I mean it was crazy, but Marty totally believed him. Not a shred of thought that it
was a scam. Then when the money was taken out of my account, I made him call Joel again, as I
was furious. Joel told Marty he got scammed, and this guy screwed him over, blah blah blah.
Another thing I thought was total BS but Marty believed his friend and said he wouldnt have
done this on purpose that guy had to have scammed Joel. He just doesnt see it like a normal
person would because he wants to give people the benefit of the doubt. Why on earth would Marty
have used his LV.Net bank accounts and merchant accounts through his very successful
business that has tons of money coming in at risk for something that was fraudulent such as
credit cards or stolen money? Unless he didnt actually know they were fraudulent. Any business
owner knows when you run a credit card, if anything goes wrong, youre responsible for the
chargeback and fees and they will take it out of your account, its happened to me with customers
before. Unless Marty was going out of business and had no money coming in and planned to shut
down theres no way he would have used his accounts that he had a 100% responsibility to pay
back if something went wrong. He would have never put LV.Net in that jeopardy. Hes spent most
of his life building that company to what it is.
         I wanted to testify in Martys trial. Martys lawyers thought the government would do
anything they could to manipulate and twist my words. Marty would not allow me to take the risk,
especially with my pregnancy, and everything we had gone through before with the miscarriages.
He didnt want the stress of it to hurt me or affect me in any way. I truly wish today I hadnt
listened to either of them, and I went and told the truth of what I knew. It is the most infuriating
thing to hear lies and fabrications of stories you were witness too that never happened.
         The repercussions from Martys arrest have been ongoing since and he has suffered so
much already. He has lost millions of dollars, his reputation, his good name, his respect, his
stance in the community, hes lost every credit card, every bank account, my banks accounts, his
parents and daughters bank accounts closed, all his loans, his business he spent 30 years
building and was his world, kicked out of almost every hotel/casino in Las Vegas, kicked out of his
associations he was a part of, his daughters being affected in school, his clean track record, and
so much more. It seems like more new losses come about every couple of weeks. The loss of the
trial was the biggest gut punch anyone could take. I wish he could go back and do so many things
differently. I wish we had presented a much better case and had shown so much more evidence
of Martys innocence, but we cant go back in time now. I also wish Marty wasnt so stubborn in
the sense of denying a plea deal, because he was so adamant about proving his innocence. I
dont think any of us thought there was a chance we would lose, because of how inconsistent Joel
was and how many times he changed his story. Marty and I didnt understand the federal court
proceedings and evidentiary laws that prevented so many things from being seen in court. It was
truly heartbreaking, this outcome, and so unexpected. Marty fully takes accountability for his
actions (or lack of actions) that led him to this outcome. He is guilty of overlooking red flags, of
TRUSTING Joel Zubaid, of being naïve, ignorant and believing what was told to him, clerical errors
and not doing perfect paperwork, & of not questioning more.
         One of the jury members even found me on social media a few days after the trial and
messaged me that he looked me up during the trial after hearing my name and felt bad for Marty,
and he didnt feel right about the whole thing and wasnt convinced he just thought Martys
lawyers did a bad job, didnt present enough evidence and the government presented such a great
case.
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        As I am writing you this letter crying telling you about the man I love, 7 months pregnant
with his unborn son, I am terrified. I usually say Im tough and can handle things, but I cant. I am
terrified Marty is going to have to suffer, and possibly be in any danger in prison because he is not
cut out for it, never see his elderly parents again, especially his mother who has cancer. I am
terrified of the possibility of him missing huge milestones in his daughters life, like walking
Autumn down the aisle at her wedding, or Kylees college graduation. For 2 little girls at heart
(which they are) my heart breaks into pieces for them to lose their dad, who is their world. Im
terrified for all the people that Marty helps and supports will lose their way without him. I am
terrified that I wont be able to do it alone and for my son to not know his father; he doesnt
deserve that. I am terrified of Marty missing life with me, and me not having my other half & best
friend. I dont think Ill ever find it again and I dont want to. You have Martys life in your hands,
and I pray you make an extremely lenient, compassionate decision.
        I beg you to consider every possibility to help Marty. Please Invision Marty as not the
perpetrator. I promise you wont ever regret it. I know this is a huge weight on your shoulders and
must be one of the toughest parts of your job. I beg you not to believe a career con man whos lied
his entire life to only benet himself over an honest hardworking man with never a bad remark on
his name and whos always made the right choices. I beg you to consider the pros and cons of
Martys imprisonment, because the cons very much outweigh any pros. Please your honor, dont
let him leave me too long. My son, his family and I need him desperately. Please have compassion
and mercy.


07/16/2024 UPDATE
This is an update to the letter above. I apologize but it is too hard for me to go through and edit out
certain parts above. A couple of weeks ago, leaving a Dr appointment for my pregnancy where I
received results that my son was in perfect health, I had quite a lot of blood drawn; leaving that
appointment I got extremely weak and lightheaded because I just found out I am Im anemic. I
went into a sandwich shop to get something to put in my system to feel better, I ended up fainting
and falling hard into a marble counter and rock wall and was injured badly and when I got home
got extremely sick. I woke up the next day and didnt feel the baby moving. Marty rushed me to the
hospital, the doctors said the baby had no heartbeat and they induced me into labor. I was in
labor for over 2 days, delivered a still born and devastatingly we lost our son. His name was Ace
Mizrahi, he was 4 pounds and 18 inches, he was so handsome and looked just like Marty other
than Ace had a full head of hair. We had to fill out a birth and death certificate at the same time.
Having to go through the process of labor, afterwords, and the after physical effects women have
after giving birth all with no child is beyond depressing. Losing the stomach that had gotten so big
after 7 months, and not feeling any kicks anymore. Trying to keep it together right now is extremely
difficult. Writing you this letter is even more. Walking out of the maternity ward of the hospital
without a baby is something I wouldnt wish on my worst enemy. Coming home, to the nursery
Marty recently painted, set up and decorated for Ace is more devastating. I have to walk past it
every day now and cant stop crying every time. In addition, I had blood clotting issues after the
birth and have had a rough recovery. Weve had to go to 2 Dr appointments a week since.
Physically and emotionally, this is the hardest thing we have ever gone through. This has shattered
Martys heart in pieces, seeing his pain makes it even harder for me, because he was more excited
than I was to have a baby. Its all hes wanted since we got together. The first picture I ever sent
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Marty of myself the week we started dating, his reply was whos that? The future mother of my
kids? Marty talked to Ace everyday through my pregnant belly and I would put his hand there to
feel his kicks all the time (he was like a little ninja). Marty is trying to be strong for me, trying to
keep me from falling apart daily, and I know its so much on him to do that. This loss was beyond
shocking, unexpected and life altering in the worst ways. I dont know what I would do without him
right now, hes the only person in my life that understands what I am experiencing, because we
went through it together. Your honor, we did not want to mislead you, and potentially have you
decided his sentence under the impression I was having our baby in September. After losing Ace,
Ive experienced a great deal of emotions and ups and downs. One thing I realized is Ive now
never wanted anything more than a child. Everywhere I go, If I walk past a baby or a little boy, I
breakdown and wish I had our Ace, I know you must sentence Marty to prison but maybe you can
give him house arrest or a lighter sentence. I beg your honor to please allow us the opportunity to
have a family. I am at an age where I dont have much longer to have children especially with my
difficulties in the past and I so badly want to have 2 kids close in age. I was an only child and
growing up I wished I had a brother or sister. Marty is the love of my life, and after what we just
went through, I feel even more deeply connected and dependent on him and his love and would
never even think of the possibility of not having him as the father to my future kids. If you can
search in your heart and find compassion, I would be eternally grateful. The length of his sentence
is also my sentence. If you gave Marty home confinement or minimal jail time, he would be family
focused moving forward. We would as soon as possible try to have a baby, then shortly after
another and raise our family in a positive loving healthy environment. He would continue to do so
much good and help so many people, spend time with his daughters, parents. Continuing to go to
chemo treatments with his mother, he would be able to help me with the car business and a
healthy dog food meal prep company we planned to do. We will just live a normal productive life.
He will never ever make the same mistakes again. Please dont take away the chance of not being
able to have what we just lost. I need him now more than I ever have.


Thank you so much for reading this.
Please call me if you have any questions.


Ashley Davis
725.251.7366
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Dear The Honorable Judge Paul Oetken,

I Mark Del Castillo am writing this letter, to provide a character reference about Mr. Martin (Marty) Mizrahi. I
have been employed by LV.Net for nearly three years, with Mr. Mizrahi serving as my Director.

Contributions to our society
Mr. Mizrahi is an Internet pioneer in the telecommunications industry, and his achievements have been well-
recognized and documented by numerous state and federal agencies across Nevada. His generous contributions
and willingness to provide affordable and free Internet to un-served and underserved communities is a
testament to his kindness and compassion for humanity. Mr. Mizrahi is a visionary who took financial risks to
provide affordable Internet to remote areas in Nevada, where other ISPs were unwilling to invest due to high
costs and small profit margins.

During the Covid-19 pandemic, Mr. Mizrahi told his employees, I will fight for your future and keep you
employed during these difficult times of uncertainty, and he kept his word. Mr. Mizrahi has consistently
provided employment opportunities to individuals recently released from prison, even when other businesses
turned them away; he believes in giving people an opportunity to empower their lives. Mr. Mizrahi also
collaborates with state agencies to employ people with disabilities, focusing not on their limitations but on their
qualities and contributions.

Mr. Mizrahi is also committed to providing employment opportunities for foreigners through the J1-Internship
visa program with much success; some of his interns became citizens and now have their own families while
thriving and contributing to our economy. Mr. Mizrahi is well known for paying college tuition for many
employees; he has helped numerous people pay their debts, Therapy, Medical expenses, Professional licensing,
and vehicles for transportation.

Mr. Mizrahi’s philanthropic approach to life is motivating to witness, he has donated his time and finances to
charitable causes throughout Las Vegas, perhaps too many to list. His willingness to help others is unmatched
and quite honestly an inspiration for so many.

Mr. Mizrahi is very well known in Las Vegas as an entrepreneur and a leader in the Internet Technology sector,
he is one of the most unselfish people you will ever encounter, and his passion for mentoring the next
generation is his way of giving back to society.

Assertions
I can confidently say that Mr. Mizrahi is one of the most generous and compassionate individuals I have ever
encountered. I have witnessed employees under his leadership break company policies to an extent that would
typically result in termination at most companies, yet Mr. Mizrahi always told me “I am not in the firing
business, I am in the fixing business, I enjoy giving people opportunities to correct their mistakes”. He
enlightened me on the importance of providing people with the opportunities they need to improve themselves.
I am very grateful and honored to have him as a mentor.

Mr. Mizrahi is an extraordinary individual (anomaly) with a truly unique work ethic. He works seven days a week
without complaint. When I asked him why he doesn’t travel more, he replied, “This is my life, this is what I love
to do.” hard work and dedication pay off when one's heart is in the right place. His relentless drive to overcome
adversity is both inspiring and contagious.


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Mr. Mizrahi’s thoughtfulness and compassion for helping those in need are admirable. He genuinely enjoys
helping others without expecting anything in return. In my opinion, his investment opportunities were always
driven by his desire to provide his employees and loved ones with a brighter and limitless future.

I understand these unforeseen circumstances have had a profoundly negative impact on Mr. Mizrahi’s life,
altering his trajectory significantly. Being separated from his daughters and parents will be especially challenging
for him, given their close relationship.

When I first met Mr. Mizrahi, he called me "buddy," which felt unusual given that I am an adult. However, as I
got to know him and understand his caring nature, I was drawn to his heartfelt way of communicating. It’s in his
essence to treat people with kindness and respect.

Final Statement
Throughout my life, I have ministered and preached the Word of God to thousands of people across the United
States and in some foreign countries. I established a non-profit religious organization and a Christian university
campus in Oregon to expand the kingdom of God and develop new leaders.

During my ministry, I had the privilege of assisting many individuals in overcoming difficult challenges and
forming a purpose-driven life. In my opinion, Mr. Mizrahi has always been a transparent and honest person; his
conviction seems entirely unlike him. Throughout the time I've known him, he has always adhered strictly to the
laws and rules that govern our society and legal institutions.

Honorable Judge, I am deeply saddened by Mr. Mizrahi’s current legal situation. I urge you to exercise leniency
in his sentencing with compassion and wisdom. I am confident that Mr. Mizrahi will learn from this experience
and emerge as an even better person.

In times of difficulty and uncertainty, hope serves as our guiding light. It reassures us that even the darkest
nights will eventually lead to dawn, and every challenge holds the potential for a better future.

Thank you for allowing me to express my heartfelt gratitude for this wonderful man we all know as Marty…



Sincerely,


Mark Del Castillo




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Dear The Honorable J. Paul Oetken;

My name is Vanessa DelMuro, and I am the Managing Director of a talent management
company called TalentX. I met Marty in 1994 while I was an executive at a computer
peripherals company; Marty was the owner of a small computer business in Las Vegas and
was one of my top clients. During this time, Marty became a close friend and remains one
to this day.

As long as I have known Marty, I have always considered him to be an honest and loyal
person. During our business relationship, he remained a steadfast client and, from what I
observed, a generous and fair boss to his sta . He is also one of the hardest workers I have
ever known. I often observed him falling asleep when he had time to sit still for a moment
because he had been working so many crazy hours. This work ethic has carried on in every
business venture he has had since.

After moving on from his computer business, Marty started LA.com right at the beginning of
the dot-com boom. I have observed Marty to always be one step ahead of business trends,
and this was no exception. He created a lucrative business with LA.com that he eventually
sold for a sizeable proﬁt. During his time running this business, I again noticed the regard
his employees had for him and the level of work they put forth in helping to build this
business. His ability to get high-quality work and output from such a young sta is a rare
thing and, in my humble opinion, says a lot about his good character.
Once Marty ﬁnished his time at LA.com, he moved back to Vegas to start LasVegas.net,
where he built yet another successful business. I saw that several of his key employees
continued with him there, and he had a similar e ect on new team members, where I could
see how hard they worked for Marty. They liked their jobs and seemed to have fun working
for him.

On a personal level, I’ve gotten to know Marty very well. He has always shown great
generosity to me and those I care about. He has hosted me and my friends at his home on
multiple occasions while we vacationed in Las Vegas. Not only did he open his home to
me, but he would pick us up from the airport and entertain us to ensure we enjoyed our
time there. He has also shown my friends and family the same hospitality during their
visits, even when I haven’t been present.

During my visits to Las Vegas over the years, I got to know Marty’s family, including his
parents and children. They are all polite, kind, and hold Marty in high regard. Marty has
been providing for his parents as long as I have known him, including the home they reside
in. I have also observed that Marty is an excellent father to his children. He has always
prioritized them and their needs as much as a father should. He is the person that keeps
his family together and grounded.
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Marty is one of the best people I know. He is certainly quirky, but that’s what makes him
unique. I have never seen him drink alcohol or do drugs. Most of his friends have been
longtime friends, which again says a lot about his character.

It truly breaks my heart that Marty is going through this because I don’t believe he
committed these o enses. I believe he is a victim. But rather than relitigating anything here,
I am hopeful that leniency is shown in his sentencing. This is so outside of anything within
his character. Someone who is so kind and generous and such a strong pillar of the
business community should be allowed to continue being a positive impact those around
him. The city of Las Vegas should continue to beneﬁt from his businesses based there.
Beyond this, his children and his parents need him in their lives, and I worry about the
emotional toll his absence will create for them. Marty has already been ostracized from
many parts of his community and has been shamed by the accusations in this case. This,
combined with the ﬁnancial cost he has already paid, feels like punishment enough. I know
he has already learned so much from this experience and will turn those learnings into
something positive for everyone around him.

Respectfully,
Vanessa DelMuro
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To the Honorable Court,

I am writing to offer a heartfelt character reference for Marty Mizrahi, whom I have
known for the past three years. During this time, I have come to deeply admire Marty's
unwavering integrity, steadfast commitment, and honorable nature.

Our paths first intersected amidst a tumultuous situation involving my ex-business
partner's wrongful attempt to claim my share of our business investment. I regretfully
allowed him to assume control of the lease, which unfortunately gave him the ability to
exclude me from my rightful stake. Following his eviction due to lease nonpayment,
Marty promptly contacted me as the rightful owner of the equipment stored at his
warehouse. Marty diligently navigated all necessary legal procedures to ensure the
equipment was rightfully returned to me. Throughout this challenging ordeal, I
entrusted Marty to uphold his commitments and act judiciously, and he consistently
surpassed my expectations. He diligently pursued the correct legal avenues to rectify
the situation before making any pivotal decisions. Since then, Marty's unwavering
integrity has left an indelible impression on me. His actions prevented me from losing
my livelihood to a deceitful and self-serving former business partner.

In both his personal and professional life, Marty exemplifies strong ethical principles and
moral character. He approaches every situation with honesty, transparency, and a
genuine commitment to doing what is right. Marty's integrity is not merely a trait he
possesses; it is the cornerstone of his identity, guiding his actions and decisions across
all aspects of his life.

Furthermore, Marty's dedication to his work and his community is truly commendable.
He takes great pride in his responsibilities and consistently goes above and beyond
expectations. Whether through his professional endeavors or his voluntary
contributions, Marty approaches every task with enthusiasm, diligence, and a positive
attitude.

In conclusion, Marty Mizrahi is an outstanding individual who embodies the qualities of
honesty, integrity, and honor. I have complete confidence in his character and abilities,
and I wholeheartedly endorse him without hesitation.

I respectfully urge the Court to consider Marty's exemplary character and contributions
to society when making its decision. Should you require any further information, please
do not hesitate to contact me at 626-223-7025

Sincerely,



Van Do
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Patrick Eubanks RN

Meridian, Idaho 83646
(208) 801-2159
patrickeubanks522@gmail.com
06/23/2024
Dear The Honorable J. Paul Oetken,
My name is Patrick Eubanks, and I am writing this letter to offer my support and commendation
for Marty Mitzrahi, a friend of mine for over two decades. I have been a registered nurse since
2010 and am currently completing my education to become a Nurse Practitioner. In my
professional capacity, I work full-time at a Crisis Center, assisting individuals with mental health
and substance abuse issues. Given my background and the nature of my work, I feel I am
well-equipped to assess and testify to Marty’s character.
I have known Marty since 1998, and throughout these years, he has consistently demonstrated a
level of integrity and moral fortitude that is rare to find. Marty’s ethical standards and his
dedication to his faith have positively impacted everyone around him, myself included. He
embodies confidence, a strong work ethic, and most importantly,a commitment to doing what is
right.
Marty’s honesty and straightforwardness are his most admirable traits. He has never hesitated to
provide me with sound, balanced, and wise advice, even when it was not what I wanted to hear.
This courage to speak the truth is a testament to his integrity. For instance, when I was
navigating through numerous challenging relationships, Marty’s guidance was invaluable. His
advice, honesty and care, helped me make better decisions and improved my personal life
significantly.
Marty has been supportive for those in need. One example is his relationship with Sean Alonzo,
a high school student we know who has struggled with depression and substance abuse. Marty
went above and beyond to offer Sean counsel, even providing him with room and board and
assigning him duties to keep him off the streets, drugs, and alcohol. This generous and caring act
was typical of Marty.
Marty’s professional conduct has always been an example to follow. When I moved to Las Vegas
and was in desperate need of work, Marty extended his hand and provided me with a job that
helped me get back on my feet. His willingness to help me in a time of need shows his generosity
and the quality of his character. Marty’s support was not just financial; his mentorship and advice
during that period were crucial for my professional and personal growth.
It is with great difficulty that I acknowledge the charges brought against Marty. Despite this, I
find it incredibly hard to believe that he would intentionally engage in any unlawful activities.
Marty’s life , as I know him, has always been guided by a strict moral compass, and this
conviction seems completely out of character for him. I firmly believe that Marty would never
knowingly violate the law.
Marty’s reputation is impeccable. He is well-liked and respected by all who know him. His
contributions to his community and his support for his friends and family are just a few examples
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July 8, 2024

The Honorable J. Paul Oetken

Dear Judge Oetken:

By way of introduction, I am the owner and president of Fierro Communications, a
highly regarded and well-established Las Vegas communications firm specializing in
public relations, litigation support and crisis management. We represent top physicians,
attorneys, architects, business leaders, and nonprofits including animal shelters. We
also assist with foundations such as the Sure Wave Foundation, which is dedicated to
helping Tanzania’s orphaned children with food, clothing, shelter, education and health
care.

Marty Mizrahi was introduced to me approximately 15 years ago by a close friend and
colleague, Steve Schorr, a man of unquestionable character. Mr. Schorr and I had
worked for the CBS station in Las Vegas as news reporters. Mr Schorr went on to head
Cox Communications in Nevada for several years and later came to work with my team.

I bring up Mr. Schorr because he had known Marty Mizrahi for many, many years and
he would never associate with someone of questionable character. Mr. Schorr passed
away recently. He would have been one of Mr. Mizrahi's staunchest supporters.

Following this initial introduction I came to know Mr. Mizrahi through a series of social
events locally.

I noticed that Marty doesn’t drink, which is rather different in Las Vegas. He is a vegan
and a non-smoker.

He had a well known reputation as a devoted family man who was focused on his two
daughters and his parents, buying a home that allowed him to care for all of them under
one roof. Marty’s dedication to his family is quite remarkable. His list of “solid” friends,
pillars of the community, is quite impressive.

When Mr. Mizrahi suffered indictment I reached out to him and his attorney to see if I
could be of assistance.
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During our time together, I learned of Mr. Mizrahi’s dedication to his employees, going
so far to supply each of them with a new car. In Las Vegas those are not typical
business arrangements. Having a car, free of charge, relieves a tremendous financial
burden from middle class workers. I have never known Mr. Mizrahi to be unwilling to
help an employee in trouble.

I have come to know Marty as a friend as well as an asset to the community. It is my
sincere hope that there is some way that his record of kindness, of caring for others
including his family and beyond, coupled with the fact that he has demonstrated
decency over the years to our community, can somehow come into consideration in
your review of his case.

If I can clarify anything stated here or be of any service to the court, please do not
hesitate to call on me.

Respectfully,




Mark Fierro

702.743.0816
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Dear The Honorable J. Paul Oetken,

My name is Monique Garcia, and I have been blessed to have Marty Mizrahi as a best friend for over
20 years. I currently live in San Diego and run a raw vegan and cold-pressed juice business. As
someone who genuinely believes Marty is one of the best people on earth, it comes naturally to write a
letter acknowledging his countless positive qualities and immense heart.
I have had the honor of witnessing his genuine kindness and generosity not only toward myself but
also toward everyone he encounters for two decades. He is the one person, even more so than my own
family, that I know I can count on at ALL times. And I know I am not the only one! For most of us,
there are 24 hours in a day, but somehow Marty seems to find what feels like 200 hours in a day. He
not only juggles his businesses but also shows up as THE BEST father, son, friend, boss, and all-
around great person to anyone he encounters.
The reason I know all of this about Marty is because of the countless times he has demonstrated his
caring and generous nature. One situation, for example, was in 2017 when I was at one of my lowest
points in life, not seeing light at the end of the tunnel or wanting to carry on. The second I expressed
this to him, he got plane tickets for my son and me for the next day. He not only gave us a place to stay
but also gave us HIS bedroom! During almost two years of staying with him, he always made us feel
at home and so comfortable. He slept in the downstairs room on a bean bag while making sure we
were well taken care of. I can’t think of another human that would do this, asking for nothing in return.
The extra groceries or entertainment expenses he covered without a second thought; he even made sure
there was always a car available to get my son to and from school. He does these acts of kindness for
so many; the occupants in his house are always changing because he is either helping someone get on
their feet who is at their lowest or allowing anyone wanting to stay there while in town, no questions
asked. He has an open-door policy; everyone knows they can count on Marty.
Marty's dedication to his family is unparalleled. He always took his kids to school, picked them up,
and dropped everything for them, even if that meant not sleeping. He would taxi them and all their
friends to after-school activities, dinners, movies, and friends' houses, living his life for those girls. He
also moved his parents into his house. Ever since I knew him, he always made sure they were nearby,
but for the last 10+ years, he purposely got a big enough house so that they could live comfortably
with him and be a tight family unit and watch their grandkids grow up. I've always loved going to all
the Jewish holidays at their home; they have always felt like my family. Marty and the rest of his
family would welcome even a stranger and treat them as family.
There is a lengthy list of characteristics that make Marty one of my favorite humans. At the top of the
list is how caring he is. He not only wants the best for everyone but also sees the best in everyone. He
is incredibly generous, not only financially but also with his time and energy. He is always positive
and never dwells on anything negative. Even in this situation, the thousands of people whose lives he
has profoundly impacted are appalled and disheartened by this conviction. Marty has chosen not to
dwell on it and moves forward in life as best as he can. He believes that being upset over situations
doesn't make a change, so he focuses on action.
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It is also not surprising how he could have ended up in a situation of this nature, solely because of his
trusting nature and seeing the best in people. He takes people at their word. He’s the guy who leaves
his house unlocked and his car's convertible top down with all his possessions inside because he is not
attached to material things. The most important thing in Marty's life is people and his connections with
them. The fact that most of his closest friends have been friends with him since elementary school is a
true testament to that. He has the most beautiful relationship with his parents and has always ensured
they are taken care of, as well as making his kids his first priority in life. Marty is the person who
would give you the shirt off his back, even if he only met you five minutes ago.
I have witnessed countless times where he stopped what he was doing to help friends or even
acquaintances move, or woke up in the middle of the night to pick people up from the airport. These
acts of kindness are not occasional; they are regular occurrences. Even I can't comprehend it and often
tell him he's too nice because I definitely wouldn't be up for it. Knowing him for so many years, he has
helped me out countless times, some during very dark periods, which have profoundly touched my
heart.
Marty exudes positive energy, and everyone wants to be around him. He is truly one of a kind, and
every time I get the opportunity to spend time with him, it is like soup for my soul. It is heartbreaking
to watch someone you love go through this. He is the least deserving person of such hardship. He built
a business from the ground up and has poured his heart and soul into it, has been recognized by the
city numerous times, and maintained positive relationships with mayors and other influential members
of the community. This is truly unfathomable, watching this be taken from him for merely being a poor
judge of character. I do hope his true character and intentions are taken into consideration before
sentencing, as Marty not being around will impact more lives than anyone can comprehend.
I cannot imagine my life without him. Not many people are blessed to have someone they know is
their rock. And he is that rock for so many; we will all be crushed if he has to leave us.
Please contact me if you have any additional questions.


Best Regards,




Monique Garcia
monique@elevatedlivingfoods.com
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My name is Elizabeth Garza, I was born in Mexico. I live in
Las Vegas with my husband and daughter, also my both
parents and siblings with their family reside in Las Vegas. We
have lived in Las Vegas for more than 40 years. I was a
professional acrobat for 15 years and traveled the world with
my father and brother. I have been a manager at Pro Gun
Vegas for the last 13 years.

I have known Marty for 20 years. He was married to my
oldest sister, Gloria. When he started dating Gloria we all
immediately liked him. He was very caring, thoughtful and
hospitably. He easily ﬁt into our family. We also easily fell in
love with his parents.

 Soon after, they married and welcomed my niece Autumn.
She is the ﬁrst granddaughter on our side. We all see her like
a little sister and love her more than words can describe.
Unfortunately, my sister (Gloria) was ﬁghting her own
demons and she had began to have a drinking problem that
ended the marriage. He tried to help her before the divorce,
he tried to get her to go to AA, he talked to my parents, he
talked to us, he really tried. It really affected me because in
my eyes they were the perfect family. Marty even reached
out to Gloria trying to help even though they were divorced.
Marty has been a exceptional parent. Has given his
daughters everything from love to paying their college.
Autumn has another sister Kylee whom we also adore and
invite to our family functions. We have always taken Autumn
on family vacations. He always made a point to dedicate
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time to the girls. Marty is always there for whoever needs
him, if I call with a question or need help, he is very
responsive and always willing to help. He invites us over to
his house for BBQ’ing and he also attends our family
functions.

I know him well enough to say he is family and he is amazing
father. He is kind and generous. Many families divide after a
divorce and not in this case. He has continued to be family
and he is a phone call away if any of us need anything.

Thank you,

Elizabeth Garza
elizabeth@progunclub.com
702-293-2108
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Judge Oetkin, SDNY
Dear Judge

I am writing this letter for my boss and friend, Marty Mizrahi, who I have known for 11 years. Marty
is a good man who made a mistake, and I believe he deserves a chance for a lighter sentence. The
crimes he is being accused of are far from the man I have known for over a decade.

Marty has always been someone who helps others and is kind, giving, and tolerant. He’s the type of
person who would give you the shirt off his back. As a supportive friend, Marty has shown time and
again that he cares deeply about those around him.

Marty has done so much for me personally. He gave me a job opportunity when I needed it most,
loaned me money many times, and even provided a place for me and my family to stay. He gave me
an auto loan and once flew me back to Alabama for a family emergency while he was out of the
country. Marty has provided my children with clothes, shoes, food, and medical care. He also helped
me with legal counsel for a situation I was in. Additionally, he has paid off bills for me when I was in
a jam, showing his generosity and willingness to support those in need.

Beyond what he has done for me, Marty has also extended his kindness to many others in our
community. He has hired many of my friends who were in desperate need of a job, giving them a
chance to turn their lives around. Marty has also hired homeless people, offering them an opportunity
to get back on their feet and reintegrate into society.

Marty has always worked hard to improve the lives of those around him, no matter who they are or
what their situation is. For example, when our coworker Phil Olague was having a tough time and kept
relapsing on drugs and alcohol, Marty did everything he could to help. Even though Phil had ongoing
problems, Marty gave him and his family a place to live at one of our buildings. When it was clear
Phil couldn’t get his life on track, Marty sadly had to let him go due to being in the middle of his trial
and being unavailable. Marty isn’t the type of person who would throw anyone on the street, so he
found Phil and his family an apartment, paid their insurance, rent, credit card bills, and phone bills,
and even rented storage units for them. He continued to pay for three months. Marty was a huge
support for Phil during his hardest times, showing how committed he is to helping others, even when it
cost him personally. This is just one example of many others.

I understand the seriousness of his situation, but I also know that this one incident does not define who
Marty is. We all make mistakes, and I believe Marty has learned from this experience. He has shown
remorse and is committed to never being so trusting again to people who ask him for things.

He’s always had my back regardless of how others viewed me. I humbly ask that you consider a more
lenient sentence for Marty Mizrahi. He is truly a good-hearted guy who needs a second chance to
prove that he can learn from his mistakes. Because Marty lost his company, I lost my job. I hope you
let him stay and come back so maybe I and countless others will get my job back.

Tekino George
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MARTY MIZRAHI CHARACTER LETTER

My name is Luz Gray, I am currently an assistant preschool teacher.
I have known Marty for about 17 years.
I met Marty through craigslist as he was looking for models for his business magazine.
Currently we are still friends although since my moving out of state we don’t talk very much. I
lived with Marty for many years and worked for him. I would go everywhere with him,
meetings, work, events etc… I feel like I know him very well, although I haven’t seen or talked
too often in the last several years. He always made sure I was safe no matter where we were.

I think Marty is a very humble, honest, smart, kind, and giving person.
I feel that everyone relies on him for help or support and he was always willing to help or
be there for anyone in need. Yes, he is very kind, generous and hard working.

Marty is a very giving person, he was very kind to myself and all of his friends and
employees. I believe that he does have a wonderful reputation, as I have mentioned
he has continuously been there when needed in hard times for everyone.
He is very well liked by all and he is the best father!
He is a very hard worker and I always felt comfortable coming to him and talking to him
about anything as he was a great friend and listener.
Marty is always looking for ways he can help! He shows tremendous love, dedication, and
respect for his parents, kids, friends and business, not to mention his ex wifes, Although they
could be a little distasteful to him, he was ALWAYS respectful and always handled himself
respectfully for love of his daughters.

Marty helped in many ways. After I was kicked out of my parents house he offered me
shelter and a job, he allowed me in his home and took me in as a family where I got to feel
and be part of the family for a few years! Through those years I witness countless of times he
was there when needed by friends and family. Marty has been a positive impact on my life and
he is dearly close to his daughters, parents and friends!

He has always been a very dedicated, hard working, giving, and sweet man. Marty would be
there for me for my family as well. We would go to my sisters QuinCierra and family events.
Marty never slept always working or helping people. We went to many events and parties, Marty
was very social but I never saw him drink or do drugs, he was very clean and loved to stay
healthy. Marty had a million friends and they all loved to be around him and loved him very
much.

Although I know nothing of what he is being charged with or what he has been going
through I believe he is an honorable and honest person. I don’t believe that Marty would do
anything against the law and all these things said about him is out of his character.
I don’t understand or know how this works, but
Thank you for listening and please give him leniency if possible.


Arely Gray
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Dear The Honorable J. Paul Oetken,




        My name is Sabrina Hakimfar. I have known Marty since I was 7 years old as a close
family friend with daughters whom I’d play with. Even as a young child I remember Marty
coming around as a beacon of light, laughter, spreading joy & wisdom everywhere he went.
When Marty came to town everyone was excited to have time with him. I am now 22 years old &
can proudly say all the incredible qualities I mentioned above have gotten greater with time. I
would describe my current relationship with him as being an important father-figure & mentor in
my life. He has helped me navigate through some of my hardest decisions in all areas of my life.
He is there for me when I need business/financial advice & guidance, he is welcoming and
embraces me as his own daughter when my family falls short of their roles.

        I think Martin Mizrahi is 1 in 1,000,000. He has never smoked, drank, done any
recreational drugs or even drinks coffee. He is a lover of life and his high’s are eating good (10
years vegan), being active, and staying positive always. I truly have never heard Marty speak
negatively even in the most challenging circumstances - this legal case being a prime example.
Everything is a learning opportunity for him. He is extremely generous to all those around him,
constantly sharing his blessings. Marty has taken me under his wing & opened the doors to his
home for me while simultaneously coming into my family home to act as a mediator for us
during our struggles. He did this without any gain to himself - purely out of love - reassuring me
every time I felt it being a burden. Marty does not exaggerate when he says what he loves to do
most is help others. I have seen time and time again how gifted he is with deep empathy. He
never gives judgment, only plans of action. He always walks forth with integrity effortlessly. He is
highly motivational & pushes people into the best, most positive version of themselves.

Being around Marty & his two amazing daughters he raised so beautifully is inspirational. He
teaches by leading by example. He is restless in his work. And although he doesn't demand the
same from others, he does prize a hard worker and gives credit to anyone with drive. This gives
me a lot of motivation. He has made an incredible list of qualities for his employees to carry in
the work environment, which should really just be a “Guide to Life”. His employees reap many
benefits of working for Marty. From his compassion and understanding to guidance and
direction. Marty will take the time out of his day to help anyone around him no matter who they
are. His incredible, kind & loving nature speaks for itself when it comes to his reputation. Marty’s
conviction was a surprise to everyone & seem’s unfair as he always done & taught others to
play by the book. To not have him here with us for some time will be a challenge beyond belief
for me - but also especially his daughters, parents, amongst other friends and family. His life will
be impacted tremendously from the time he will be away. But he will always be the same Marty -
honorable, generous, positive, honest & brilliant.

Warm Regards,
Sabrina Hakimfar
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        Carol Hatcher
                           ‬
        Las Vegas, NV 89113‬
        ‭carolhatcher2024@outlook.com‬
         ‭702.244.0996‬
‭
        ‭6/20/2024‬
‭
    ‬
        ‭ onorable J. Paul Oetken‬
        H
        ‭United States Courthouse‬
         ‭40 Foley Square‬
          ‭New York, NV 10007‬


        ‭Dear The Honorable J. Paul Oetken,‬


        I‭ am writing to you on behalf of Martin “Marty” Mizrahi, for whom I’ve had the privilege of‬
         ‭knowing both professionally and personally for the past 8 years. I was fortunate enough to be‬
          ‭hired by Marty as the manager for his hotel, a role in which I’ve had the opportunity to witness‬
           ‭his admirable character and consistent integrity firsthand.‬

        ‭ arty has always shown kindness, thoughtfulness and an incredible commitment to those‬
        M
        ‭around him. His actions during some of the darkest periods of my life stand as a testament to‬
         ‭his character. I was involved in a catastrophic car accident, which tragically resulted in the loss‬
          ‭of my 16-year-old son at the hands of a drunk driver. The devastation of losing my child in such‬
           ‭a senseless manner was overwhelming. After the accident, I was in a very dark place; I couldn’t‬
            ‭eat, sleep, or even want to talk to anyone. During this incredibly painful time, Marty was a rock‬
             ‭of support. Out of concern, he sent an employee to my house to check on me. He has always‬
              ‭been there for me, providing not just emotional support but also assisting in practical ways to‬
               ‭help me navigate through the overwhelming grief and challenges that followed. After 3 months‬
                ‭of being out of work Marty reached out to me to ask if I was ready to return, and if not, I could‬
                 ‭take as much time as I needed.‬

        ‭ urthermore, Marty stepped in to assist when I found myself unable to pay my rent, due to the‬
        F
        ‭financial strain caused by the accident. He helped me file the necessary court documents and‬
         ‭contacted attorneys to ensure I would not face eviction, allowing me to focus on healing and‬
          ‭rebuilding my life without the additional stress of housing insecurity.‬

        ‭ nother dark time in my life was when my father passed away after suffering from prostate‬
        A
        ‭cancer (for 16 years). Marty once again provided emotional support as well as extended‬
         ‭financial assistance to help with special travel arrangements for my family to attend my father’s‬
          ‭funeral in Tampa Florida. We had to fly back to Las Vegas the same day because my daughter‬
           ‭was in the hospital suffering from double pneumonia. His generosity and care allowed us to be‬
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t‭ogether during such a difficult time, providing comfort and stability when we needed it the most.‬
 ‭This was also during a trying time, in which the world was adjusting to covid. Travel around the‬
  ‭world was coming to a halt and the hospitals were being locked down. If it wasn’t for Marty I‬
   ‭don’t know what me and my family would have done.‬

I‭n addition, Marty’s generosity extends well beyond myself. He hired my extended family and‬
 ‭friends from Detroit and relocated their entire families to Las Vegas to better their lives. He‬
  ‭provided the necessary resources to start an automotive repair business, giving them the‬
   ‭opportunity to thrive in a new environment. This selfless act speaks volumes about Marty’s‬
    ‭character and his commitment to uplift others.‬

‭ here have been so many instances Marty has tasked me and other co-workers to assist‬
T
‭colleagues in their time of need. Seeking rehabilitation centers when they were on drugs.‬
 ‭Locating housing when they were facing evictions, helping obtain state assistance and the list‬
  ‭goes on. One co-worker in particular, Phillip Olague, needed help finding a drug rehabilitation‬
   ‭center and housing for his family. We spent countless hours trying to convince him to go to‬
    ‭rehab. Once he agreed, Marty stood by his side till he recovered and was ready to return to‬
     ‭work. He often allowed Phillip to leave work early so he could continue his treatment. Marty‬
      ‭paid his rent, storage fees, utilities, car insurance and other bills so he wouldn’t have to worry‬
       ‭about his family (during and after treatment). Even after Phillip stole from him and burned one‬
        ‭of the company vehicles, Marty never turned his back on him, because he knew the type of‬
         ‭person Phillip was (off drugs) and he felt with the right treatment, he would be back to his old‬
          ‭self. After several months Phillip was ready to return to work. Marty’s unwavering support‬
           ‭during these challenging times highlights his dedication to the well-being of those around him.‬

‭ he conviction before the court is completely uncharacteristic of the Marty I know. He is a‬
T
‭trustworthy, reliable and compassionate individual who consistently goes above and beyond to‬
 ‭help those in need. His actions have positively impacted not only my life but also the lives of‬
  ‭many others who have had the good fortune of knowing him. Marty has expressed deep‬
   ‭remorse to me for his involvement in this situation, showing that he is reflective and genuinely‬
    ‭regretful.‬

I‭ humbly ask that you consider the positive contributions Marty has made to his friends, family,‬
 ‭employees and people of the community and the genuine person he is at heart. I believe in his‬
  ‭capacity for growth and redemption and am confident that he will continue to be a valuable and‬
   ‭upstanding member of society.‬

‭Thank you for your time and consideration.‬


‭Sincerely,‬


‭Carol Hatcher‬
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The Honorable J. Paul Oetken
United States Courthouse
40 Foley Square
New York, New York 10007

June 24, 2024

Re: Endorsement of Marty Mizrahi

Dear Judge Oetken,

My name is Richard Heftel. I own several companies including a group of radio stations
serving Southern Nevada and Southern California. I met Marty Mizrahi through the
radio stations and I feel that I have come to know him very well. I consider him a friend
and someone I can reach out to for help with a variety of things, including but not limited
to internet and tower services, technical advice, and introducing us to his colleagues that
specialize in many facets of computer and tech. I know I can count on him for any
charity assistance that we need help with.

I have known Marty for 7 years. In all that time he has been a man of his word. He has
advertised on my stations and I have traded office space for advertising from him for
several years (I gave him advertising and he gave me office space in his building).
Besides being an ethical business person, he has been very generous in providing
assistance to me and to my staff, as well as to charities we have been involved in.

I feel that I have come to know him very well between our business dealings and social
interactions, and he has always been ethical and friendly. I wanted to provide a short list
of examples of how he has gone out of his way many times to help me, my employees,
and even his employees. These say a lot about him:

1. If we needed something he could provide to make our operation work better, Marty
would provide it without hesitation. For example, we needed broadband internet service
at our broadcast towers across 40,000 sq. miles of desert. He immediately offered to
have his engineers design and implement a wireless network to some of the most remote
and desolate areas in the U.S. He did it all at no upfront cost to us and no requirements of
anything thereafter. He said, "just be our friends and partners". We could not have ever
built something like this without his generous help. He is also very supportive of giving
back to the community. Helping us with our responsibility as one of the lead
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broadcasters for the EAS (Emergency Alert System) that other stations rely on us to get
important information from the government out to the public, demonstrated Marty’s his
commitment to the public and community.

2. We needed a place for our FM booster antenna at Arden Peak. He provided a spot on
his tower for it and even had his technicians install it. We didn’t and don’t write any
checks to him for any of this.

3. Since there was no dance radio station in Las Vegas at the time, Marty wanted to
create a digital HD Radio channel to provide the community with commercial-free dance
music. He purchased all the equipment needed to add digital capability to our FM
transmitters, thereby allowing us to offer a dance radio station and other digital
entertainment. He founded this radio channel not for his financial benefit, but for the
enjoyment of the community. He runs no ads on this station. It’s just his gift to the
community. His purchase and ongoing support is very significant financially. We could
not have not done it without him.

4. On numerous occasions, we’ve had trouble with our antenna towers. Marty would
send his technicians to climb the towers and help us fix the issues. He has never asked
for anything in return.

5. When we needed a safe, reliable location to house our computer servers and a large
12-foot satellite dish, he offered us a space in his data center without a second thought
and again never asked for anything in return.

6. When we needed internet and phone service at various locations, he offered to have
his technicians install service within 24 hours. All at no cost to us.

7. I remember talking with one of his technicians. He told me that Marty spent time
teaching him about cryptocurrency and helped him open an account with a brokerage to
get started. The technician was very excited that his account was gaining value every
day. I thought that was incredibly generous on Marty's part, but then again, that's just the
kind of person Marty is. Every one of his employees I've ever met has spoken very
highly of him.

These are just some of the many kind and generous things Marty has done. There are
many more that come to mind. My opinions, and my companies’ opinions remain the
same despite any of the negative press or legal issues relating to him.
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Your Honor,

My name is Corey Herscu, I am a career publicist, I live in Toronto, Canada with my wife
and three young children, and I’ve known Marty Mizrahi for almost two decades in both
personal and professional capacities. We initially met through mutual friends at a wedding
in Beverly Hills 15 years ago, became fast friends, and spent much time together, so I
delayed my flight home to Toronto and headed to Vegas with him for a few weeks and
stayed at his house.

Over the years, Marty has become somewhat of an older brother figure, supporting me
during some difficult family events and becoming a trusted confidant, helping me make
decisions that would change the course of my life. With his support and encouragement, I
shifted my career focus from sales to communications and haven’t looked back.

My work has me on the road quite often, with Las Vegas, Nevada, being a frequent stop. I
will generally call Marty and he has never said no to pick-up, drop-off, or ensuring he takes
me to at least one or two meals. Furthermore, unless I insist otherwise, he offers me to
stay at his house. It’s important to him that he ensures I am okay mentally and financially,
and has many times offered me a sales role within his LV.net business – I have always
declined. When I stay at his house he usually hosts other people and all Marty is focused
on is ensuring his guests are happy and comfortable.

In terms of entertainment and letting loose, I have never, in the 15 years of knowing Marty,
seen him drink or do drugs regardless of the environment. He is usually just dancing and
having a good time. He is often actually pushing me to drink more water!

Truth be told, I don’t believe that Marty did anything criminal; that isn’t Marty’s character.
He’s one of the most honest, generous, empathetic people I know, who has a heart of gold
and I unequivocally stand beside him.

I hope this was helpful and can be available for a call if needed. 416.300.3030

Thank you,


Corey Herscu
Corey@herscu.ca
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                                                                                                 05/15/2024
                                                                                 1221 S Casino Center Blvd,
                                                                                       Las Vegas, NV 89104

My name is Carla Hinojal, and I had the privilege of meeting Marty in June 2023.I was hired by your
company as part of a cultural exchange program called ICD USA: International Career Development,
from my home country, Spain. This is quite unusual because not many companies know about these
programs and want to be a part of them.

I had just finished my degree in Advertising and Public Relations in Spain, and I came in as a marketing
intern to work at his company. From the moment I arrived, I had the pleasure of working closely with
Marty and his team at LV.Net. Marty gave me the opportunity to learn about American business and
guided me to adapt and grow in this environment. His unique and personalized approach to teaching and
his strong commitment to professional development have been instrumental in my growth in this new
phase of my career. I am grateful for the opportunity to learn and grow under his guidance and look
forward to applying what I have learned in my future career.

Marty, as president of the company, not only demonstrated a deep commitment to my well-being and that
of all the members of the program. Additionally, he made significant improvements to our working and
living conditions, going above and beyond what was necessary. Likewise, when I arrived in the United
States to start the program, he picked me up at the airport himself. He also had to wait for me for hours
while I figured out where my luggage was because the airline had lost it. The next day, he helped me
contact the airline to file a claim and took me shopping for clothes because I didn't have any.

Marty not only provided room and board, in my case letting me stay in his own home with his family, but
also organized activities for us to ensure that we had an enriching and rewarding experience. Their
generosity and attention to our needs was evident from the beginning, and their unconditional support was
invaluable to me and to all of us who participated in the program.

As for his reputation, Marty is widely respected and loved by those who know him. The quality of his
work is exceptional and he is available 24/7. He has always been responsive to our job requests and has
provided us with the support and guidance we needed to achieve our desired job goals.

In my experience of working closely with him for 11 months, he has instilled in me honesty and
compliance with the law. I can say with complete confidence that Marty has always acted ethically and
within the law, as has his entire inner circle. As a member of his company's marketing team, I saw
firsthand his commitment to intellectual property compliance as it applied to our projects. He always
ensured that our creative efforts respected the rights of others and stayed within legal boundaries. Marty
has always demonstrated a proactive approach to compliance and ethics in every aspect of his personal
and professional life.

His behavior towards me and others reflects a deep sense of responsibility and empathy. He has been a
valuable and positive influence in my life and has radically changed it. Despite the allegations against
him, my opinion of Marty has not changed in the slightest. I recognize the seriousness of the allegations
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and the importance of addressing them appropriately. However, based on my personal and professional
experience with Marty, I have complete confidence in his integrity and his ability to handle this situation
with the same honesty and ethics that he has always demonstrated. I highly recommend him as a person of
good character who deserves leniency in his current legal situation.

I sincerely appreciate the opportunity to express my opinion of Marty's character. I am available to
provide any additional information that may be helpful to the case.



Sincerely,




Carla Hinojal Folgueira
carhinofol62@gmail.com
+1 7252721940
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                                                                                    June 12, 2024


Dear Judge Oetken,


My name is Joey Horvitz. I live in LA. I work as a filmmaker and Creative Producer in various
aspects of the film industry.

I have known Marty for about 37 years, since 9th grade when we attended the same high
school. During these early years, I was an awkward teenager mostly keeping to myself. It was
during this period that Marty befriended me. Immediately I noticed something very special and
unique about this person... his passion for life , his intelligence, curiosity,, but most
importantly his perspective and kindness. In other words, his character. These are all traits that
have persisted to this very day. To best illustrate the Marty that I know, I think its best to
provide some reflections, stories and a bit of history.

Lets start with a fun story. When I turned 18, just out of high school, I took a year abroad to live
in Israel. I attended university and also worked on a kibbutz for a while. But as I was there for a
little over year, Marty decided to visit me, in Israel. Who does that at the age of 18? I
remember clearly the moment we finally met up. I was smoking a cigarette and all of a sudden I
feel a solid punch to my upper arm and he snatched the cigarette right out of my mouth and
threw it away. I had just received the classic dead arm. This was Marty's way of waking me up
to a super bad choice of smoking cigarettes. A choice today I wish I never made. But
moreover this was my good friend's way of showing he cared for me. And he was right. That
was a dirty habit I wish I never would have picked up.

What has always blown my mind, is how Marty has always been, and currently is Sober. Being
sober usually insinuates the notion of someone having a problem with alcohol or controlled
substances, at some point in their lives, and who is now living sober. This is not the case with
Marty. Marty has always been sober. Growing up in society, teenagers are figuring themselves
out and trying to fit in, usually bending to peer pressure to experiment with alcohol or drugs...
myself included. Or perhaps drugs and alcohol are used as a social lubricant, to medicate
fears and anxiety. Not Marty though, he was and is an anomaly. Growing up going to parties
Marty was always sober, doesn't even drink coﬀee!! He has no need to modify or impair his
reality and perspective on the world. At the time I did not understand this, (although it worked
out NICELY to have a responsible designated driver) But as an adult I understand it more.
Marty thrives in the present moment, not needing anything to feel better or more. People
spend decades of their lives to achieve this awareness, this way of being that is Marty's default
setting.

This lack of fear and sense of presence has always worked for Marty to recognize
opportunities. Even as a young teenager he was well ahead of his fellow peers in intelligence. A
warm memory I have... In the mid- to late 80s as computers were being introduced into our
culture, I remember very distinctly Marty using a spread sheet to organize all his contacts (and
there were many!) giving each contact a fun nickname to help remember where he met them.
This was all listed alongside their contact information, creating a digital rolodex, a. database of
his contacts. Mind you this is long before any contact apps existing. This was genius and I
started doing this myself. Marty and I have always shared an interest and curiosity in
technology.

As average kids were graduating high school on their way to college, Marty instead moved to
Las Vegas and saw an opportunity to start a computer business. When he started the
business, Marty hired his parents, and this is when he started to take care of his parents, at the
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age of 19 years old. I feel its important to note here, another admirable quality. Marty has
always taken care of his family. Whether its employing his parents in his business or making
sure they have a home to live in. Even today Marty lives in a home that has two sides to it. One
side where he lives and the other side where his parents live. Taking care of your parents is not
only a beautiful quality, that somehow has been lost here in the US, but one that exemplifies
strong character.

Circa 2019, I was going through some very challenging times. I had lost 2 people very close to
me, I lost my amazing job of 8 years at an big indie movie studio. I also had a bad break up,.
These intense losses, back to back really tore me open and did quite a number on me.. Then to
top it oﬀ, here comes this unprecedented pandemic. I was in pain and confusion.. I was just
lost, as were many. At the time I had not seen Marty for quite a while. Sure we spoke every so
often, and he came to visit me in LA a few times, but I had not actually spent meaningful time
with my friend for at least 10 years. I did not have kids or responsibilities in that regard. AlI I
need is my laptop and yoga gear, and I can work from anywhere, why not road trip to Martys
and wait out this crazy pandemic together.

With no one hiring in the entertainment industry during the pandemic.. and after blowing
through my savings, I was pretty much broke. Marty was kind enough to welcome me into his
home, oﬀer me a place to stay and an oﬃce to work from I've known his family forever and it
was nice to reconnect. I felt safe, I felt at home.

While I was embedded in Marty's life I was able to see the business he built from scratch and
how he operates and carries himself. LV.net was an awesome undertaking. Especially going
against the big internet/cable telcos. It was motivating for me to witness this. One
characteristic that Marty and I share is a curiosity and a thirst for knowledge. It was inspiring to
see him try diﬀerent things out: a car wash lot, NFT's or even a Halloween spooky house,
Marty enjoyed experimentation. Sure, you might fail, maybe not, but you'll never know if you
don't try. And Marty loved to try and I love that about Marty. And when some things don't work
out... Marty would not lose sleep, just move on to the next thing, This ability, I truly admire and
wish I had more of.

I stayed with Marty oﬀ and on for several months at a time over several years. During this time I
was able to see how he interacts with his family, mostly his daughters and his parents. Marty
loves his daughters, Autumn & Kylee, and they love him. He has a beautiful bond with them.
Same with his parents. I know my mom is turning 78 this year and how dependent she is on
me. I love Marty's parents, and I feel good knowing they are getting older with Marty there. He
will always take care of his parents and his children, and they depend on him. He is the glue
that keeps his family strong.

I've also witnessed how Marty conducts himself and treats his employees. The compassionate
quality that Marty imbues, extends well beyond his family and friends to strangers. I've seen
Marty oﬀer countless opportunities and jobs to so many that were simply down on their luck.
Regardless of being the CEO of a successful internet service provider, employing upwards of
115 people, Marty always found time to have one on one conversations with employees that
were experiencing issues, giving them pep talks, second and third chances, even loaning
money to those in a jam. Marty has a heart of Gold.

Yes, A portion of Marty's life was in crypto, an ever developing currency, that is still very new to
the world. How it is regulated and how it is being integrated within today's financial institutions
is just now being defined. The rules and laws are consistently in flux in this brand new world.
Yes Marty would experiment, staying on the forefront of new technology, but he has always
operated within the confines of the current law. Even in the early days of the internet, Marty
would purchase and develop domain names such as Vegas.com and LA.com.
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Crypto, which is growing and evolving, is still relatively new to the world. And many people are
so interested in this new world... a world that Marty has been one of the experts. He's been
mining bitcoin almost since its inception. Yes, many average people wanting to get into bitcoin
would meet with Marty to understand it better and see how they could get involved. And yes I
witnessed many of these meetings and watched transactions that were all above board.

What gets me so sad and angry about this situation is connecting Marty to the Cartels. I was
with Marty almost all the time and I never witnessed anything even minutely related to the
Cartel. I don't believe Marty is stupid, and would get involved with anything so dangerous and
risky. Why would he? He has a successful internet business that s only growing. Also, Marty
hates anything and everything to do with Drugs. He has a deep disdain for dealers and drugs,
as he has seen them ruin the lives of so many, some even very close to him, most notably his
brother, who had issues with drugs his whole life and died as a result of it. This seems so
ludicrous to me, and it seems to be the main element that every news outlet is picking up. This
insane idea that Marty was laundering money for the cartel. So many times I've witnessed
Marty do the right thing, and be honest. He would never break the law intentionally. This is out
of character for Marty Mizrahi.

In closing, I implore you to consider all the above when formulating a sentence. Marty is a good
person with a caring heart who has brought goodness into the world. Please don't take him
away from his daughters and parents, they are all in unique phases of their lives where they
need a father and a son, now more than ever.

Lastly, and I only found this out recently, but Marty has a baby on the way, a son... and that
son will need a father. Please show a compassionate heart.


Many thanks for your time,



Joey Horvitz
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To whom it may concern;
My name is Scot Hutcherson and I am a personal friend of Martins. I have known him
consistently for 33 years as of today. I am a Christian father of four children and currently
employed full time,12 years this year at T-Mobile as a Cell Tower Technician of which I
partially owe Martin my thanks. I met Martin in 1991 through my sister who
was employed as a web designer for him. We became close friends during my tenure as his
employee and we shared both professional and personal experiences together, and I also
grew close to his parents Maurice and Elaine who quickly became my second family. When
I met him, I was just over a kidney transplant, which occurred a couple years out of high
school. He offered me not only a position to handle customers as an account manager, but
he also taught me important skills such as building computer systems, networking and
business management practices which I utilize today in my professional career.
Martin gave me my second chance in my professional endeavors, which was initially and
abruptly ended when I enlisted into the Navy, and was denied due to a kidney issue. In fact
it was the physicians at the MEPS Military Entrance Processing Station which alerted me of
my kidney issues and directed me to seek follow up.

Shortly after my kidneys failed and I had a long battle to recovery. Martin, knowing my
condition and all the medications I was on and the challenges I faced, was more than
willing to hire me as one of two account managers for his computer wholesale company. I
have since gone back to Martin for employment on two separate unrelated occasions and
to this day, and I know if I needed a job he would find one or make one for me, as I have
seen him do for others in the past.

I have personally witnessed Martin selflessly helping others on various matters such as
housing the homeless and offering them jobs and helping many with their personal and
financial challenges all the while I never heard Martin asking for anything in return except
hard and honest work. On several occasions, he allowed people whom he barely knew to
live in his home and employed them while they got back on their feet. I always felt that was
risky, but he had a different vision for these people. I have watched him build his
businesses on those principals and as a witness to his character, I don't believe he would
risk everything he has built by illegal means. He has always been an opponent to drugs and
certainly would not knowingly become involved with those who profit from it. He does not
have a high opinion on even smokers. Martin knows and has stated on more than one
occasion that there are alot of families that depend on his hard work, his diligence and
commitment to his businesses.

Additionally, Martin is well admired by his friends and associates, and he has built a
reputation on honest business practices and abhors dishonest endeavors. I know from
personal experience that many look up to him as an example of success, and I myself call
upon his experience for advice for financial and personal matters frequently to this day.

I have always stayed in contact with Martin throughout the years, and I consider Martin to
be honest, straight to the point family man and business owner. Personally, I have never
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                                                                    JACOBSON LAW OFFICE, LTD
                                                               64 NORTH PECOS ROAD, SUITE200
                                                                   HENDERSON, NEVADA 89074
                                                                       TEL (702) 601-0770



July 10, 2024

THE HONORABLE J. PAUL OETKEN

RE:    Mr. Marty Mizrahi

Dear Judge Oetken:

My name is Rachel M. Jacobson. I have been a Nevada licensed attorney since
October 2001. I have been practicing primarily in the area of family law through
Jacobson Law Office, Ltd., which I opened in 2005. I have dedicated my practice
primarily to matters involving family law. As a Nevada attorney since 2001 and a
dedicated member of this community since 1986, I have had the privilege of
knowing Mr. Marty Mizrahi personally. Today, I come before you to share a glimpse
of the positive qualities that Marty embodies. My hope is to provide additional
perspective and a personal connection that may be helpful in your deliberations
regarding the allegations advanced against Marty.

For context, I have known Marty for over twenty years, having first met him through
our mutual friends and involvement in the Las Vegas Jewish community, and I’ve
also had the opportunity to “see the real Marty” since 2007 when I represented him
in the custody matter regarding his oldest daughter. Over the years, Marty and I have
developed a strong personal and professional relationship, and I believe I know
Marty quite well.

As noted above, in 2007 I represented Marty in matters involving the custody of his
oldest daughter who was then approximately two years old. Through this
connection, I learned firsthand that Marty is an honest, reasonable, forgiving, and
caring person. Moreover, Marty is a doting father who prioritizes the needs of his
children well above his own. Marty demonstrated emotional stability, responsibility,
reliability, and willingness to co-parent. He provided a supportive environment and
fostered a positive relationship and close bond with his daughter. She was clearly
the apple of his eye, and he was hers. It was clear that, in Marty’s care, his little girl
was the priority, and her best interests would be served. Marty was awarded custody
back then and has never taken it for granted.
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Marty continues to be one of the best fathers I’ve known. It is my sincere hope that
he will not be judged solely by the indiscretions associated with the allegations he
now faces because, nevertheless, Marty is a good father. He is a good person.

Throughout the years, I have observed Marty to consistently demonstrate
exceptional character and integrity in areas outside of his family and/or children as
well. Marty has consistently demonstrated honesty, thoughtfulness, and a genuine
concern for others. His dedication to helping those around him, whether through
professional advice or personal support, is truly commendable. Marty regularly
assists those in need by helping to secure shelter and/or sustenance for anyone who
asks or simply looks like he is lacking.

One of the most significant experiences I have had with Marty is seemingly simple
but had a great impact as Marty helped me navigate through a significant emotional
setback related to personal and business events though he was facing a temporary
hardship of his own. Marty took the time to patiently and actively listen to me. He
was somehow able to lift the negative interpretation which I applied to the
underlying events. Without any judgment, Marty questioned me in a manner that
helped me break from the damaging view which, up to that time, had controlled my
thoughts in a counterproductive and, frankly, destructive manner. Marty’s creative
and positive problem-solving approach and guidance were invaluable, and his
willingness to assist me without expecting anything in return speaks volumes about
his generosity and selflessness. Marty’s ability to provide sound advice and support
is a testament to his intelligence, emotional insight and stability, and, most of all, his
commitment to others.

Despite the foregoing, I recognize that Marty has been charged with a violation of
the law. However, my opinion of him remains unchanged and it is truly difficult, and
rather impossible, for me to connect Marty with any acts that violate the law in a
manner that is damaging to the public at large or any one person. Such
allegations/charges seem completely uncharacteristic of the Marty I have known for
over twenty years.

The Marty I know has always adhered to high morals and standards and has been a
role model in both his professional and personal life. I am confident that Marty will
use this challenging experience as an opportunity to grow in a manner that will
enable him to continue to contribute positively to the lives of others as I sincerely
believe that, despite an appearance of ulterior motive that may be associated with
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the underlying charges against Marty, Marty will remain a person of high character
primarily motivated by sparking joy and comfort in others and that he will ultimately
find his way back to positively impacting and enriching the lives of those around
him.

Thank you for your time and consideration.

Sincerely,
JACOBSON LAW OFFICE, LTD.

/s/ Rachel M. Jacobson

Rachel M. Jacobson, Esq.
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Dear The Honorable J. Paul Oetken;


My name is Mihran Jebejian. I am a General B Contractor working as a Project Manager /
Superintendent in commercial, industrial and multi family construction. Over the years I have
helped build a multitude of large scale projects such as Home Depots, Dollar General stores,
Caliber Collision shops, the Dodger Stadium Hall of Fame Display, etc…

I met Marty in the early 2000's soon after moving to Las Vegas. We found it ironic after knowing
each other for years that his aunt and my aunt have been lifelong best friends since before we
were born.

Over the years I consulted Marty on multiple construction projects and wound up being his
Construction Manager, Project Manager for his hotel remodel and his Owner's
Representative.

Marty and I, along with a deep trusting professional relationship, have always been very close
friends I consider him to be like a brother. Marty and I have long confided in each other in
personal situations and he has always been a go to person for me for advice. When my wife
and I were considering purchasing a new home I showed it to him to get his opinion. When the
pressures of Covid weighed heavily on my relationship resulting in our divorce I consulted in
Marty.

Marty has always been an employer willing to give workers opportunities to prove themselves
when many others would overlook them. He and I put many people to work who wound up
turning their lives around for the better and wound up on very positive paths and who
appreciate those opportunities to this day. It hasn't always worked out for the best. For some
people no matter how hard we tried they rreverted to their old habits. Marty has always given
people more chances than one would expect. everyone a 2nd 3rd and beyond chances.

The work he has done over the years has always been honest, above board and of a quality
worth its cost. I never believed that Marty would knowingly participate in any kind of deal that
would risk his freedom and take him away from his family and his girls. His daughters and
parents are everything to him and any time they loose with him will create a great void in their
lives. He takes care of his parents and many other depend on him.

I don't know the particulars of this case against my friend and frankly I don't really believe
as stated above that he would have knowingly and willingly broken the law. Regardless of
the verdict I believe in my friend and that he will find a way through this situation and wind
up finding a way to pull as many positives out of it in the end. We all love marty and I hope
you see it in yourself to give him another chance.



When the dust settles I will be there for my friend and his family as I always have been.
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Dear The Honorable J. Paul Oetken,
My Name is Willima Allen Kaercher, a native born Las Vegan and President of Kaercher Insurance,
founded in 1954 and incorporated in 1961. I have a U. S. Airforce security clearance and have been
involved in MANY community associations and Charity Board.

I have known Marty for about 18 years and have worked with him in business as his Insurance
Broker. I have found Marty to be a great family man, he invited my wife and I to have dinner with his
parents and meet his two daughters. I have found Marty to be an extraordinary gentleman with a
brain and IQ like an Elon Musk. I have watched him treat his business employees like family. He
has been very generous for charities and people in need. In fact, he helped create a high tech
internet company in Las Vegas called LV Net.

As long as I have known Marty I have found him to be Intellectual, Charitable and compassionate
for our great city of Las Vegas. You Can call on me for a character witness any time you need me.



Sincerely,

William Allen Kaercher
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Zachary Kaplan

Calabasas, CA 91302
Zacharymkaplan@gmail.com
(818) 857-5654


Your Honor,

I am wriKng this leNer as a character reference for Marty Mizrahi, whom I had the privilege of knowing
and working for at LV.Net from June 2017 to June 2020. I have come to regard Marty not only as a
mentor and employer but also as a friend and guiding light during some of the most challenging Kmes in
my life.

Marty extended a compassionate hand to me when I was struggling to navigate through college and life's
obstacles. He provided me with not only a job but also a place to live, transportaKon, and essenKal tools
to thrive, including a cell phone and a vehicle. His generosity and support were instrumental in helping
me stay aﬂoat during those tumultuous Kmes.

Under Marty's guidance, I learned invaluable skills in salesmanship and professional communicaKon. He
took the Kme to teach me the nuances of conducKng business, including the proper eKqueNe of sending
business emails. These skills have not only helped me in my professional endeavors but have also
equipped me with the conﬁdence to face any challenge head-on.

Beyond professional development, Marty played a pivotal role in my personal growth. He supported me
through diﬃcult Kmes, including the passing of my mother, providing unwavering encouragement and
understanding. AddiKonally, he played a signiﬁcant role in helping me overcome my dependency on
Adderall, demonstraKng his commitment to my well-being beyond the scope of professional obligaKons.

Moreover, Marty introduced me to a network of individuals whom I now consider to be family. Through
his connecKons and guidance, I had the opportunity to aNend events and forge relaKonships that have
enriched my life immeasurably.

In summary, Marty Mizrahi has been a beacon of support, guidance, and inspiraKon in my life. His
unwavering kindness, generosity, and mentorship have made an indelible impact on my personal and
professional journey. I wholeheartedly support him and vouch for his character, integrity, and
contribuKons to our community. I earnestly hope for his swib return to society, as I believe his presence
and posiKve inﬂuence are greatly needed.

Thank you for considering my perspecKve. Please do not hesitate to reach out if you require any further
informaKon.

Sincerely,




Zachary Kaplan
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My name is Graciela Khalil. I am 40 years old and currently living in Las Vegas, Nevada. I have
been in Las Vegas for 40 years with both parents, 3 sisters and one brother. I have been working
for a gun range in Las Vegas - Pro Gun Vegas for the last 13 years.

I have known Marty for 20 years. He was married to my sister. When Marty was dating my sister
Gloria over 20 years ago. They would pick me up and drop me off at school at the University of
Nevada, Las Vegas. I was also working part time at JCPenny at the Boulevard Mall which was
only a few miles apart. His office is near UNLV and JCPenney and my parents' house. Marty is a
family member. He is not a violent type. He is a law-abiding citizen. He is a humble, kind, and a
giving man. He has been a good father to my niece. Marty is a good parent to both of
his daughters. I am close to both of his daughters. They come over to my family house for
birthdays and family functions. Marty would be there too, and the girls would stay to spend more
time with their cousins.

Marty's has given my niece, Autumn, and her sister a stable good family functioning home.
Something my sister couldn’t give her and still can’t give her today. Marty’s parents have lived
with him since he had his daughters. Marty’s parents are lovely people. They do not drink
alcoholic beverages in their household or have any type of addiction and neither does Marty. My
sister Gloria has always been an alcoholic as far as a can remember. She is that unpleasant drunk
that causes violence and drama. When Marty and my sister got married that was an issue in their
marriage. Marty tried getting her help plenty of times as they have a daughter together. He paid
for her to get help and counseling. Absolutely nothing has helped. She gets drunk and calls
Marty, causes lots of trouble and drama. For this reason they got a divorce. To this day myself
and my family still love Marty and enjoy his company.

When Gloria and Marty got married, I was happy that she left my parents home. During this
time, I was living with my parents and going to college. I didn’t want her to jeopardize my career
in college or life for her late drunken violence with my mom. I put myself through college and
got a degree in finance. Marty and my sister were married less then a year. He tried to do so
much for my sister to get better, he would take her to AA meetings, he had conversations with
my parents to try and help her. Also my parents are from Mexico, they do not speak much
English, he tried as much as he could but unfortunately it did not work out. My sister moved
back to my parents when Marty and her separated. Even though Marty and Gloria separated, he
was still there for my family and especially his daughters. When I was a junior in college I got
married and moved out. Gloria is a non-functional alcoholic. She will be 50 years old this year,
still an alcoholic with no job because she can’t hold a job because of her addiction. If it wasn’t
for my parents, she would be in the streets. I have not had much of a relationship with her for
about 20 years. Marty did the right thing and my niece has a better life because of his decision.

Marty helps everyone and expects nothing in return. When I was in college I would go to his
office, and I was allowed to use the copier and computers for my homework in college. He
helped with my computer science classes and to learn Hebrew. I have always considered him my
brother-in-law and family. He had a daughter with my sister so he got closer to my family. His
daughter is like a little sister to me. And now that I am a grown adult I see her as a daughter.
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His company is part of the growth in Las Vegas for the last 20 years. Marty has always helped
the community of Las Vegas helping schools, family owned business, charities events and the
Jewish community. I have also been present to those community events. He has worked
really hard for his business for the last 20 years I have known him. Anyone in Las Vegas that
knows him for his good business ethic and service. Ask all his customers and employees. He puts
in lots of time and hours of integrity, good reputation and fairness. Most employers do not care
about their employees' personal lives but he does and will help them by giving them a car to get
to work. He also helps people and family members through hardships.

I understand that marty is going through a hard time right now with the courts and I know he will
learn from whatever they say he did. I personally don’t believe it and I hope this letter helps
bring marty back. Marty’s daughters and parents really need him.



Thank you

Graciela Khalil
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Mitch Kove
                                   NV 89135 / 702-306-2196 / mitch@mamnevada.com
April 28, 2024
The Honorable Judge
Re: Character of Marty Mizrahi

Your Honor,
My name is Mitch Kove and I work in the real estate industry as an agent and construc on project
manager for almost 25 years, since 2000.

I’m wri en you today to express my strongest support for Marty Mizrahi in the case before you. I have
known Marty since high school for over 37 years and we have remained best friends ever since. During
this me, I have consistently found him to be a person of the upmost integrity, honesty, and reliability.

Marty is a highly principled individual who has always conducted himself in a professional and ethical
manner. He is known for his strong work ethic and his commitment to following the rules. I fact, Marty
has been a valuable resource for me, oﬀering guidance on family ma ers, business deals and ﬁnancial
guidance. His knowledge and adherence to proper procedures were instrumental in the day-to-day life
challenges. I was star ng a new business and Marty let me use his building for free to get me and all his
friends which I know a lot of them and what he has done for them through the years.

This one mistake should not deﬁne an incredible man and his extraordinary career. It should not erase
37 years of his hard work and immense dedica on to serving Las Vegas. He is hur ng and is fully aware
of the enormity of his mistake. Every day Marty will miss being a part of making Las Vegas the greatest
des na on for community members he truly cares about.

The allega ons against Marty come as a complete surprise to me. They are en rely out of character for
the Marty I know. He is a devoted family man who cherishes his me with his daughters and parents.
Our families have spent a lot of me together as on of my daughters is 3 days apart from Kylee his
daughter. The prospect of him being separated from them would be devasta ng for all involved.

I understand the seriousness of the charges, but ﬁrmly believe he is not the type of person who would
knowingly engage in any wrongdoing. He is deeply regre ul for this situa on and the impact it has had
on his life and those around him. No ma er the court’s decision, I have no doubt that Marty will learn
from this experience and emerge a stronger person. He is a posi ve and resourceful individual who will
ﬁnd a way to turn this situa on into a learning experience.

I urge you to consider my tes mony when making your decision. Marty is a valuable member of our
community and deserves a second chance.



Sincerely,

Mitch Kove
Mitch Kove
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To the Honorable Judge J. Paul Oetken:


My name is Ammar Kubba. I am a licensed attorney (in California) but have spent most
of my career as an entrepreneur and investor, building companies in the online space.

I’ve known Marty since the fourth grade, in Los Angeles. Marty was the very first friend I
made after my family emigrated from England in 1980. As you can imagine, being the
new, awkward, and shy kid with a funny accent doesn’t lend itself well to making friends
at a new school, in a new city, in the mean halls of elementary school.

My first memory of Marty was from the first day at my new school in January 1981. I
stood alone, uncomfortably, at the front of the class while our teacher introduced me
and asked for volunteers to show me around school. Crickets. Not a single person
raised their hand. Until Marty. He raised his hand high and volunteered to be my guide.
We’ve been friends ever since.

Marty and I remained close friends through elementary, junior high, and high school.
During that time, we learned about computers together, we learned basic programming
together, and we learned the value of hard work, initially working together at his family’s
furniture store, which was both of our first jobs.

After high school, Marty’s parents moved to Las Vegas. That fall, after graduation, Marty
and I took a few college classes together. It became abundantly clear, almost
immediately, that Marty wasn’t cut out for school. We all knew he wasn’t a good student
in high school, but those early weeks of college cemented that notion. It would not be
much of an exaggeration to say that Marty reads at a very elementary level. He
absolutely hates reading. He has trouble spelling. He has trouble remembering. And he
especially has trouble focusing. Soon after starting those courses, Marty dropped out
and followed his parents to Las Vegas.

I stayed in Los Angeles and attended UCLA for undergrad, and then Loyola Law
School. During those seven years of school, we didn’t see each other as much and
gradually drifted apart. I was busy studying and enjoying college life, while Marty was
busy building his computer business in the real world. During those years, when I did
see Marty, he was living a lifestyle none of his friends could comprehend. He was
working crazy hours, barely sleeping, taking care of his family, and somehow still finding
time for “normal” life activities in between. As one of Marty’s closest friends, it was
always a wonder to me how someone with his educational (or lack thereof) background
was able to flourish in the business world, but despite all that, he persisted to build his
business and his life.

Then, in 1996 or 1997, soon after I graduated law school, Marty and I finally caught up
and he told me about a new, “online” business he was getting into… domain names. I
was hooked, and that encounter with Marty changed my life forever, for the second
time.
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Since then, Marty and I have collaborated on various projects, investments, and ideas,
and have remained close friends throughout. I’ve watched Marty build his company,
LV.Net, from the ground up into the respected and thriving business that it is today. I’ve
watched him grow as an individual, as an entrepreneur, and as a community advocate
for his adopted city of Las Vegas. (He has established relationships with multiple
mayors, local business groups, and even has a day named after his company, LV.Net
Day.) I’ve watched him discover, explore, and invest in new technologies, including
cryptocurrency hosting and mining, well before they became fashionable or mainstream.
I’ve watched him raise and love his two daughters, Autumn and Kylee. I’ve watched him
care for and support his aging parents, Maurice and Elaine.

Marty is a wonderful, generous, and caring human being. He is a passionate and
ambitious entrepreneur that tries to help all those within his orbit – family, friends,
employees, and sometimes even strangers. But he is not without flaws. Marty’s life,
business and personal, is nonstop – a 24/7 stream of calls, texts, emails, and meetings.
Sometimes – oftentimes – Marty takes on too much. So much so that even his closest
friends sometimes get frustrated by his inability to focus, pay attention to detail, or even
engage in uninterrupted conversation. If you knew him well, you’d joke that he’d
regularly call you and, between the time he dialed and the moment you answered, he’d
already forgotten what he was calling about. I’m obviously not a doctor, but I’m almost
certain Marty has ADHD or something similar.

Another issue, in my experience, is that Marty’s far too trusting and too open to new and
unvetted people. This is especially problematic when those people bring him new and
unvetted business opportunities. It’s this flaw that I believe led to the predicament Marty
finds himself in today. Marty trusts people before they’ve earned that trust, and he takes
people at their word, sometimes despite evidence to the contrary.

At the end of the day, though, Marty is truly a good person. He is a productive member
of society. And he adds value to the world and those around him.


Thank you, your Honor,




Ammar Kubba
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Brian Lausen
LEGAL ASSISTANT
Tele: (702) 471-8161
Email: BrianL@LV.Net
Monday, July 3, 2024
The Honorable J. Paul Oetken
UNITED STATES DISTRICT JUDGE
Southern District of New York
500 Pearl Street
New York, New York 10007-1312

Dear Judge, Oetken,
I am writing to support Martin A. Mizrahi, known to me and many as Marty, with a character reference. I began
working for Marty, the owner of LV.Net, in late February 2023 as a legal assistant. From the beginning, I have had
the privilege of observing his skillful leadership and management style. Marty is not only fair and reasonable as a
boss, but he is also remarkably empathetic and understanding.
Please allow me to provide some background about myself. I would like to share a brief snapshot of my education,
professional experience, and my current role at LV.Net. My name is Brian Lausen, and I am a proud U.S. Air
Force Veteran of the Gulf War, where I served with honor and distinction. Currently, I have had the privilege
of serving as a Legal Assistant at LV.Net, where I provide support to the business’s legal operations by contributing
my efforts and insights from my growing academic knowledge and previous work experience in the legal �ield.
Thanks to Marty’s incredible support and encouragement, as well as his generous offer to help further my
education by financing many of my college legal courses, I was able to return to school and am currently
pursuing an Associate of Applied Science degree in Paralegal Studies at the College of Southern Nevada. It
is Marty’s belief in my potential and his willingness to invest in my future that has been the factors in inspiring
and encouraging me.
Specifically, I provide Marty with critical legal support by conducting detailed research, reading court-related
documents, and presenting summaries of criminal and civil cases. In addition, I clarify many of the complex
details and elaborate concepts by simplifying the difficult legal documents into shorter, more concise key points,
helping to make the information easily understandable for Marty. Marty has me research legal work to make
sure he and LV.Net are following the law regarding our human resource department and other items.
During the trial, my two co-workers and I supported Marty’s defense team the most by reviewing hours of
defense exhibits and evidence. We received daily updates on the criminal proceedings and would usually be
emailed copies of the court transcripts the night of, or more often, the day following a court session. As I carefully
read and examined each of the daily transcripts, it became more and more clear to me that Marty was being
wrongly accused and unjustly portrayed as the mastermind of this money laundering and credit card scheme.
I think the government may have made a mistake and wrongfully accused Marty of this crime. After reviewing
the transcripts and all the discovery documents from before, during, and after the trial, I can see that Marty
was indeed negligent in some areas; this doesn’t make him a criminal. His actions were unintentional and
did not reflect any criminal intent.
Over these past sixteen months working under Marty, I have developed a professional relationship with him,
and have noticed that he sometimes struggles with lengthy, complex emails and documents. He often �inds it
challenging to read more than one or two sentences before he might lose interest in them altogether. I have
also observed that this can sometimes affect how he communicates with others, causing him to be short
with the people around him. Those who don’t know Marty very well might perceive him as rude, condescending,
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or just outright arrogant. When in all reality, he is none of these things! This reminds me of a time when I
first started working at LV.Net. We had just finished a meeting where Marty had outlined some tasks for the
legal team he wanted completed when he asked us if we had any questions. Without thinking, I blurted out,
“Why are you such an ass?” My two co-workers tried to blend into the surrounding area of Marty’s of�ice, as I
thought to myself, ‘Oh my God, what the Hell did I just say?’ even as one of them was nervously trying to
distance himself from me to try and avoid being associated with my foolish, career-ending statement. Marty
turned to me with a bemused expression and, without missing a beat, explained, “I’m not being an ass; I just
have no patience for ‘fluff’” – his term for long-winded or difficult-to-read texts, emails, or documents.
Marty’s support and leadership foster a positive, dynamic working environment that promotes creativity
and encourages respect and professionalism. He is deeply committed to his team members’ personal and
professional growth, as demonstrated by his many acts of kindness and generosity. For example, my air
conditioner caught fire last summer during a sweltering Las Vegas night. After hearing about this incident
from one of my co-workers, Marty promptly reached out to discuss the situation with me and what he might
be able to do to help. After learning that my landlord wouldn’t take immediate action to fix the problem,
Marty arranged for an A/C repair technician, whom he paid out of his pocket, to ensure I would have a working
air conditioning unit in the oppressive Vegas desert heat. Another instance of his generosity that stands
out is when Marty covered the initial upfront bill for a huge truck repair that turned into a full-blown engine
overhaul and replacement. This generosity allowed me to repay him in smaller, more manageable payments,
relieving the immediate financial pressures and stress such a costly repair would have typically caused.
These small acts of kindness exemplify Marty’s compassionate nature, supporting others during their
times of need – despite his legal issues and struggles, demonstrating his strong integrity in his personal
and professional life.
Marty is celebrated for navigating complex business challenges and contributing substantially to the Las
Vegas community. Most notably, Marty spearheaded an initiative to provide free Wi-Fi to Downtown Las
Vegas, greatly enhancing connectivity and accessibility for countless residents and visitors. This effort earned
him high praise from Mayor Carolyn Goodman, who recognized his contributions by proclaiming March 10 as
“LV.Net Day.” This day honors Marty’s visionary leadership and commitment to bridging the digital divide
within our community.
Finally, I could share countless other stories about Marty’s impact on my life and others around me, but I
need to mention the current situation at LV.Net. Two of my co-workers recently resigned over fears regarding
job security because of Marty’s conviction. To be honest, deep down, I know my job is also at risk, and I am
very scared about if or when I might be let go. Despite this uncertainty, I am holding on to the hope that
you will be lenient with Marty and allow him to return home. His return would not only help restore stability
to our team but also allow us to bring back those who left and prevent further job losses from occurring.
Many families have suffered due to this situation, and I know that Marty’s return is vitally important for
us, the LV.Net family, to move forward again.
In conclusion, Marty Mizrahi is a remarkable and inspiring individual whose dedication, profound empathy, and
commitment to supporting and uplifting others make him an outstanding leader and mentor. While I am
aware of the charges against Marty and his recent conviction, my steadfast belief in his character remains
unchanged. Again, I have read through many of the case’s discoveries and transcripts, and I don’t see much
evidence of what the government found about Marty’s guilt. Throughout the time I have known him, Marty
has always acted honestly and with a deep-seated moral compass, consistently demonstrating compassion,
generosity, and selflessness toward everyone around him. To me, his conviction appears uncharacteristic and
does not re�lect the true nature of the person I have come to know and respect. This is why I will never be able
to believe Marty was capable of any of these offenses he was charged with.
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Thank you for taking the time to consider my perspective on Marty Mizrahi. Regardless of the court’s decision,
I am confident that Marty will continue to exemplify dedication and profound empathy toward his colleagues and
associates, along with his commitment to supporting and uplifting everyone around him, whether they are an
employee, a friend, a family member, or a passerby on the street, as I have endeavored to convey throughout this
character letter. His tireless efforts, dedication, and inspirational leadership will continue to benefit the lives
of those he has influenced and the community he has passionately served.
Please feel free to contact me if you require any further information, have additional questions, or would like
to discuss Marty’s character and contributions in greater detail.



Sincerely,


Brian Lausen
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                                                                          5509 Villa Lucia Ct • Las Vegas • NV • 89141
                                                                                                         702-451-8630
                                                                                      www.homeenergyconnection.com
July 7, 2024


Dear The Honorable J. Paul Oetken;

I am writing this letter on behalf of my friend Marty Mizrahi whom I have known for many years.

I am a building performance specialist focused on making buildings earth friendly while maximizing the comfort,
health, safety, energy efficiency and durability of new and existing residential and commercial buildings based on
building science through my company, Home Energy Connection, LLC, that I founded in 2007. We provide IECC
(Energy Code), RESNET Home Energy Raters (HERS), and the Building Performance Institute (BPI) training across
the country. Appointed by Nevada Governors Steve Sisolak and Joe Lombardo to represent Clark County on
Nevada’s Clean Energy Fund Board (Green Bank) since 2020, I serve as the Vice-Chair. In addition, I oversee the
verification of the energy performance components for Nevada’s Affordable Housing Program for the Nevada
Housing Division. My education includes holding a bachelor’s degree in mechanical engineering from the University
of California, Santa Barbara, and several certifications. I have been married for 17 years.

I first met Marty when he owned a computer business in 1991, and I was just starting my own PC consulting
business. From the beginning, Marty was incredibly helpful and provided invaluable guidance that greatly
contributed to my success. He shared better ways for me to approach my work and introduced me to mentors who
further enhanced my skills.

Marty has always demonstrated a genuine care for his employees, offering them the same level of guidance and
support that he extended to me. His generosity with his time and his willingness to help others have always stood
out to me. He consistently went out of his way to assist both his employees and me, embodying the qualities of a
dedicated and compassionate leader and friend.

As our businesses grew, we both became busier and primarily communicated via phone and text. However, after
the pandemic we reconnected and began catching up over lunch. Our conversations would often revolve around
new technologies, current events, and, most importantly, family. Marty frequently spoke about his parents and
daughters with great affection and pride.

Throughout our long acquaintance, I have always considered Marty to be an honest businessman. His love for
helping others succeed and his generosity with his time are qualities that I deeply admire. I have always enjoyed my
interactions with Marty and have appreciated his positive influence on my personal and professional life. Based on
my 33-year friendship with Marty, it is unconscionable that Marty would have knowingly committed the crimes he
was convicted of. These actions do not align with Marty’s character.

Thank you for taking the time to consider my perspective on Marty's character. I believe that his actions and values
consistently demonstrate his commitment to integrity, generosity, and the well-being of those around him.


Regards,




Les Lazareck, CEM




                    "QUALITY ENERGY CONSULTING WITH THE TESTING TO PROVE IT"
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                                          TOAN D LEDUC
                                                (310) 487-8742



July 7, 2024


To Your Honor,


My name is Toan Leduc, I live in Irvine, California, and I am an accountant by profession. I am writing this
letter in reference to Marty Mizrahi, who is before your court. There have been rumors and online articles
regarding his involvement with other individuals whom I do not know that led to criminal investigations.
My letter however, is about a person whom I have known for over 38 years, a dear friend who is more like
a younger brother to me, a genuine friend who was always there for me and many others in times of need,
and a very loyal friend who never forgets his roots despite of his success.


Marty asked if I could write a reference letter for him, but the truth is that I was already planning on doing
so several months ago. I am very concerned about his future and well-being, not just for Marty but his
family and two daughters. I can only hope that the court finds the sincerity in my words; knowing my
friend, there’s nothing Marty would not do to reverse the actions that led him here today.


It is extremely difficult for me to ask the court to believe or understand that Marty Mizrahi is a good person.
I still remembered the day an 13 year old boy on skateboard came by my photobooth and asked me all
kind of questions about photography. Like any boy at his age, I find them obnoxious but with Marty, he
was also funny but kind and sincere. Despite of the odd encounters and the 9 years difference in our age,
I was taken in by his family and treated like an older brother to Marty. Occasionally, I drove Marty and his
friends to the beach, malls, etc, hung out with his family and watched over him to make sure he doesn’t
step out of line. Several years later, Marty moved to Las Vegas and started a computer business which
formed into an internet company called LasVegas.Net, I enjoyed witnessing my little brother’s success.
One thing I’ve noticed from the very beginning of our friendship was, Marty always has a lot of people
who cared and loved him throughout his life, but with the success of LV.net, new acquaintances entered
his life and I began to question Marty’s judgement because he was always trusting others and was easily
influenced by these individuals.
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Like all of us, Marty should be accountable for his actions and it appears that he may have made some
mistakes. However, I am also confident that he has a lot of remorse for which he wants to repair the
damages he has caused. This is only possible if our justice system and society provide him with an
opportunity to make amend of his actions and allowing him to be a productive member of our community
again. Marty has always been honest and a good friend to have around. He is also a good father to his
daughters and his family. Being a successful businessman, Marty contributed to his community by creating
jobs and endless opportunities for many others. On a personal level, I’ve never seen Marty judged anyone
and he was always willing to help others. In my 38 years friendship with him, I never heard of any criticism
of anyone and he often defended victims of bullying in public and in social gatherings. Marty Mizrahi is a
good man and I will vow for his character. Hence, it is my belief that the core principle of our criminal
justice system should not just punish the individual but we should also taking into consideration his past
accomplishments and contributions to his community, thereby allowing him an opportunity to learn and
correct the mistakes he made and becoming a valuable member of our society again.


I trust the decision that this court makes on my friend’s life and I respect that decision. On behalf of
Marty’s family and friends, I respectfully requested this court for understanding and leniency because I
also recognized how powerful your decision can have on Marty’s life and those who loved and cared for
him.


Sincerely,


Toan Leduc
